Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 1 of 104 Page ID #:8

 1   GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
     MATTHEW M. PROUDFOOT, SBN 155988
 2   MARCIA M. LACOUR, SBN 159282
     38 Discovery, Suite 200
 3   Irvine, California 92618
     Telephone: (949) 753-0255
 4   Facsimile: (949) 753-0265
     Email: mproudfoot@g3pmlaw.com
 5   Email: mlacour@g3pmlaw.com
 6
     Attorney for Defendant FORD MOTOR COMPANY and FUTURE FORD OF CONCORD,
 7   LLC
 8

 9

10                         UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11

12   JUSTIN FREDERICKSEN, an        )        Docket:
     individual and DOES 1-100      )
13   inclusive                      )
                                    )
14                 Plaintiff,       )        DECLARATION OF MARCIA M. LACOUR IN
     vs.                            )        SUPPORT OF DEFENDANT FORD MOTOR
15                                  )        COMPANY’S NOTICE OF REMOVAL
     FORD MOTOR COMPANY, a Delaware )
16   Limited Liability Company,     )
     FUTURE FORD OF CONCORD, LLC, a )
17   California Limited Liability   )
     Company and DOES 1-100,        )
18   inclusive,                     )
                                    )
19                  Defendants.     )
                                    )
20

21
     I Marcia M. LaCour declare as follows:
22

23
          1.    I am an attorney duly licensed to practice law before all

24   courts of the State of California and the United States District

25   Court for the Central District of California.           I represent Defendant
26   Ford Motor Company in the above captioned matter.            I am a member in
27
     good standing with the State Bar of California.           I have personal
28

                                              1
     ___________________________________________________________________________________
       DECLARATION OF MARCIA M. LACOUR IN SUPPORT OF DEFENDANT FORD MOTOR
                           COMPANY’S NOTICE OF REMOVAL
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 2 of 104 Page ID #:9

 1   knowledge of the following facts, except for those based on
 2
     information and belief, which I believe to be true, and if called
 3
     upon to testify, I could and would competently testify to their truth
 4
     and accuracy.
 5
          2.    This declaration is submitted in support of FMC’s Notice of
 6
     Removal to the United States District Court for the Central District
 7

 8   of California under 28 U.S.C. § 1332(a)(1), 1441 and 1446.

 9        3.    In executing this declaration, I do not intend, and Ford

10   has not authorized me, to waive any protections or privileges Ford
11   may have as to proprietary, trade secret, and/or confidential
12
     information, or to waive Ford’s attorney-client privilege as to any
13
     of its communications or to waive the work product immunity developed
14
     in anticipation of or in response to litigation.            I intend only to
15
     describe certain factual matters that are pertinent to this
16

17   declaration.

18        4.      Plaintiff alleges he is a resident of Los Angeles County,

19   California (Complaint. ¶ 1). However all documents in possession of
20   Ford Motor Company, most of which were provided by counsel for
21
     Plaintiff, indicate Plaintiff is a citizen of Nevada or of Georgia.
22
     See Exhibit 2.
23
          5.    Ford Motor Company is and was at the time Plaintiff
24
     commenced this action a corporation under the laws of the State of
25
     Delaware with its principal place of business in Michigan.             This
26
     Court can take judicial notice of these facts.           See Fed. R. Evid. 201
27
     (b)(2) (courts may judicially notice facts that “can be accurately
28

                                              2
     ___________________________________________________________________________________
       DECLARATION OF MARCIA M. LACOUR IN SUPPORT OF DEFENDANT FORD MOTOR
                           COMPANY’S NOTICE OF REMOVAL
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 3 of 104 Page ID #:10

 1   and readily determined from sources whose accuracy cannot reasonably
 2   be questioned”).
 3        6.    Defendant Future Ford of Concord, LLC, a California Limited
 4   Liability Corporation with its principal place of business in
 5   Concord, California in Contra Costa County.
 6        7.    Future Ford of Concord, LLC consents to removal.
 7        8.    Attached as Exhibit 1 are true and correct copies of all
 8   process, pleadings, and orders for the State Action in FMC’s
 9   possession pursuant to 28 U.S.C. §1446(a).          The Answer of Defendant
10   Future Ford of Concord, LLC in the State Action was filed 3/22/19, a
11   conformed copy has not yet been received.
12        9. Attached as Exhibit 2 are true and correct copies of
13   documents indicating Plaintiff is a citizen of Nevada or Georgia?
14        I declare under penalty of perjury under the laws of the United
15   States of America that the foregoing is true and correct and if
16   called as a witness I could and would so testify.
17        Executed this 22nd day of March, 2019, in Irvine, California.
18

19   Dated: March 22, 2019                     _____________________________
20                                                         Marcia M. LaCour
21

22

23

24

25

26

27

28

                                              3
     ___________________________________________________________________________________
       DECLARATION OF MARCIA M. LACOUR IN SUPPORT OF DEFENDANT FORD MOTOR
                           COMPANY’S NOTICE OF REMOVAL
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 4 of 104 Page ID #:11




                             EXHIBIT 1
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 5 of 104 Page ID #:12

                                                                            Service of Process
                                                                            Transmittal
                                                                            02/20/2019
                                                                            CT Log Number 534958059
    TO:     Chris Dzbanski
            FORD MOTOR COMPANY
            1 American Rd Whq 421-E6
            Dearborn, MI 48126-2701

    RE:     Process Served in California

    FOR:    Ford Motor Company  (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 Justin Fredericksen, etc., et al., Pltfs. vs. Ford Motor Company, etc., et al., Dfts.
    DOCUMENT(S) SERVED:              Summons, Notice(s), Instructions, Complaint, Declaration, Exhibit(s)
    COURT/AGENCY:                    Los Angeles County - Superior Court - Hill Street, CA
                                     Case # 19STCV05028
    NATURE OF ACTION:                Product Liability Litigation - Lemon Law - Future Ford Lincoln, VIN:
                                     1FTEW1EP3GKF54339
    ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:        By Process Server on 02/20/2019 at 14:17
    JURISDICTION SERVED :            California
    APPEARANCE OR ANSWER DUE:        Within 30 days after service
    ATTORNEY(S) / SENDER(S):         Natan Davoodi
                                     The Law Offices of Natan Davoodi, Esq.
                                     3580 Wilshire Blvd. Suite 1260
                                     Los Angeles, CA 90010
                                     310-889-4554
    REMARKS:                         The document(s) received have been modified to reflect the name of the entity
                                     being served.
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 02/21/2019, Expected Purge Date:
                                     02/26/2019

                                     Image SOP

                                     Email Notification,  Chris Dzbanski  cdzbansk@ford.com

                                     Email Notification,  Mary Ann MacKinnon  mmackin1@ford.com

    SIGNED:                          C T Corporation System
    ADDRESS:                         818 West Seventh Street
                                     Los Angeles, CA 90017
    TELEPHONE:                       213-337-4615




                                                                            Page 1 of  1 / JM
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
                                                                                    f^. V. 'vcr
                Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 6 of 104 Page^ID 13
                                                                                           #:13 f                                                                                     7"D3
Electronically FILED by Superior Court of CalifCmla, County of Los Angeles on                       Carter, Executive OfTicer/Clerk of Court by R. Perez.Oeputy Clerk

                                                                                                                                                                   SUM-100
                                                       SUMMONS                                                                        mn COURT USE ONLY
                                                                                                                                  (SOLO PARA USO DE LA CORTE)
                                               (CITACION JUDICIAL)
          NOTICE TO DEFENDANT:
          (AVISO AL DEMANDADO):
          _EORD MOTOR COMPANY, a Delaware Limited Liability Company, FUTURE
           FORD OF CONCORD, LLC, a caiitornia Limiteol-labllity Company and
           DOES 1-100, inclusive,
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO el DEMANDANTE):
           JUSTIN FREDERICKSEN, an individual and DOES 1-100 inclusive,


            NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the Caiifomia Courts
            Online Self-Help Center (www.courtinfo.ca.gov/setfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee. ask
            the court clerk for a fee waiver form, if you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the Caiifomia Legal Services Web site {www.lawhelpcalifomia.otg). the Caiifomia Courts Online Self-Help Center
            {vAvw.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           lAVISOI Lo han demandado. Si no responde dentro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea fa informaciOn a
           (MntinuaaOn.
               Tiene 30 DiAS DE CALENDARIO despuOs de que le entreguen esta citaciOn y papeles legates para presentar una respuesta por escrito en esta
           corte y hacer que se entregue una copla al demandante. Una carta o una llamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
           en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usarpara su respuesta.
           Puede encontrarestos formularios de la corte y mOs informaciOn en el Centro de Ayuda de las Cortes de Caiifomia (Www.sucorte.ca.gov/ en la
           biblioteca de /eyes de su condado o en la corte que le quede mOs cerca. Si no puede pagar la cuota de presentaciOn, pida al secretario de la corte
           que le dO un tormulario de exendOn de pago de cuotas. Si no presenta su respues/a a tiempo, puede perder el caso por incumplimlento y la corte le
           podrO qurtar su sueldo, dinero y bienes sin mPs advertencia.
              Hay otros requisitos legates. Es tecomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un ser^/icio de
           remislOn a abogados. SI no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servidos legates gratuitos de un
           programs de servidos legates sin fines de lucre. Puede encorrtrar estos grupos sin fines de lucre en el sitio web de Caiifomia Legal Services.
           (Www.lawhelpcalifomia.org;, en el Centre de Ayuda de las Cortes de Caiifomia, (WvAv.sucorte.ca.gov; o poniPndose en contacto con la corte o el
           coleglo de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y /os costos exenfos por imponer un gravamen sobre
           cualquier recuperaddn de $10,000 6 mPs de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
           pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
          The name and address of the court is;                                                                     CASE NUMBER;
                                                                                                                    (NOmeio det Caso):
          (El nombre y direcciOn de la corte es): Central District - Stanley Mosk
           111 N. Hill Street, Los Angeles, CA 90010

          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is;
          (El nombre, la direcciOn y el numero de telOfono del abogado del demandante. o del demandante que no tiene abogado, es):
          Natan Davoodi, 3580 Wilshire Blvd. Suite 1260, Los Angeles, CA 90010, (310) 889-4554
                                      Sherri R. Carter Executive Officer / Clerk of Court
          DATE; 02/14/2019                                                     Clerk, by                                                                           . Deputy
          (Fecha)                                                              (Secretario)            Ricardo                       Perez                          (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
                                                  ] as an individual defendant.
                                                  I as the person sued under the fictitious name of (specify):


                                                            ] on behalf of (specify):

                                                       under I        I CCP 416.10 (corporation)                I         I     CCP 416.60 (minor)
                                                             I        I CCP 416.20 (defunct corporaUon)         I         I     CCP 416.70 (conservatee)
                                                                      ] CCP 416.40 (association or partnership) |             | CCP 416.90 (authorized person)
                                                               I    I other (specify):
                                                       [    ] by personal delivery on (date):
                                                                                                                                                                       Page 1 of 1
           Form Adopted (or Mandatory Use                                          SUMMONS                                                 Code of Civil Procedure §§ 412.20,465
             Judicial Council ot CalKornIs                                                                                                                   'ifww.COurtinro.CB.gov
            SUM-tOO (Rev. July 1,2009)
      Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 7 of 104 Page ID #:14

                                                                                                Reserved (or Oerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS;
                                                                                                          FILED
 Stanley Mosk Courthouse                                                                       SiAOlor Cojit cf Caffcrria
 111 North Hill Street, Los Angeles, CA 90012                                                    County of LosAngelod
                                                                                                     02/14a019
                       NOTICE OF CASE ASSIGNMENT                                      Shsri R Carts. EzeoufM OSoer I Oa* of Cout
                                                                                        By:           Ricardo Pores              OefMey
                          UNLIMITED CIVIL CASE

                                                                                CASE NUMBER;

  Your case is assigned for all purposes to the judicial officer indicated below. 19STCV05028

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT


    /
                ASSIGNED JUDGE
          Susan Bryant-Deason
                                             DEPT
                                            52
                                                      ROOM

                                                                  I         ASSIGNED JUDGE                      DEPT         ROOM




    Given to the Plaintiff7Cross-Complainanl/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 02/16/2019                                                        By Ricardo Perez                                   ^ Deputy Clerk
                 (Date)
l_ACIV190 (Rev 6/10)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 8 of 104 Page ID #:15

                                   Instructions for handling unlimited civil cases

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.
APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.
TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.
Class Actions
Pursuant to Lx)cal Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

* Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
                Case 2:19-cv-02186-R-JPR tgeleson
                                         Document          1-1
                                                  02/14/2019
Electronically FILEC ty Superior Court of California. Countyo       Filed
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                                                                                                           of Court            ID #:16
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                                                                                19STCV05028
                                        Assigned for all pui(A;;>eS to; Stanley Mosk Courthouse, Judicial Officer Susai> oiyant-Deason
                                                                                                                                                     1”D3



                1     Natan Davoodi, Esq. (SBN 282806)
                2
                      The Law Offices of Natan Davoodi, Esq.
                      3580 Wilshire Blvd., Suite 1260
                3     Los Angeles, CA 90010
                      Phone; 310-889-4554
                4     Fax: 213-382-4083
                5
                      Attorney for Plaintiffs

                6

                7                               SUPERIOR COURT OF THE STATE OF CALIFORNIA,
                                                      FOR THE COUNTY OF LOS ANGELES
                8

                      JUSTIN FREDERICKSEN, an individual                              ) CASE NO.
           £    9
                      and DOES 1-100 inclusive.                                       )
     II I 10                                                                          )    llllllllllll
                                                                                      ) JURY TRIAL DEMANDED
                                                                                                                        llllllllllllllllllllllllll
                                                                Plaintiffs,
       ii:                                                                            )
                      vs.                                                               COMPLAINT FOR DAMAGES AND
               12                                                                     )
     ®aa-                                                                               CIVIL PENALTY:
                                                                                      )
     SEP 13           FORD MOTOR COMPANY, a Delaware                                       (1) VIOLATION OF SONG-BEVERLY
                                                                                      )
     Es                                                                                        CONSUMER WARRANTY ACT
     SSST 14
     gsaT
                      Limited Liability Company, FUTURE                               )
                      FORD OF CONCORD, LLC, a California                                   (2) BREACH OF IMPLIED
     h i                                                                              )
                                                                                               WARRANTY OF
     P                Limited Liability Company and DOES 1 -                          )
          s IS                                                                                 MERCHANTABILITY
          s           100, inclusive,                                                 )
               16                                                                          (3) NEGLIGENT REPAIR
                                                                                      )
                                                                Defendants.                (4) MISREPRESENTATION
                                                                                      )
               17
                                                                                      )
               18
                      Plaintiff alleges;
               19
                            I. PARTIES
               20
                             1. JUSTIN FREDERICKSEN (“Plaintiff’), a natural person, is, and at all times herein mentioned
               21
                      was, a resident of Los Angeles County, California.
               22

               23            2. Defendant FORD MOTOR COMPANY (“FMC”) was and is a corporation organized and
               24     existing under the laws of the State of Delaware with its principal place of business in Dearborn,

               25     Michigan, and authorized and/or licensed to engage, and engaging in the business of distributing, buying,

               26     and selling FORD automobiles to the general public, including selling automobiles under conditional sale

               27     contracts in the State of California. FMC does not have a State Certified Arbitration program as shown

               28
                      on http://www.dca.ca.gov/acp/acpprocess.shtml.

                                                                                      Page 1

                      COMPLAINT FOR DAMAGES                                                                                                                 IK
         Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 10 of 104 Page ID #:17

                                                                                                                        1"03



         1        3. FORD MOTOR COMPANY (“Defendant”) is located at One (1) American Road, Detroit,
         2   Michigan 48126. Defendant can be served through “C T CORPORATION SYSTEM”, its registered
         3   agent for service of process in California, located at 818 West Seventh Street, Suite 930, Los Angeles, CA
         4   90017. Defendants operate a business that includes providing sales of FORD motor vehicles and motor
         5   vehicle related services to consumers in the State of California.
         6
                  4. Defendant FUTURE FORD OF CONCORD, LLC (“Defendant” and/or “FUTURE”) (“FMC”
         7
             and “FUTURE” collectively referred to as “Defendants”) was and is a corporation organized and existing
         8
             under the laws of the State of California with its principal place of business in South Gate, California, and
    t ^
             authorized and/or licensed to engage, and engaging in the business of distributing, buying, and selling
is
fM sT   10
             Ford automobiles to the general public, including selling automobiles under conditional sale contracts in
             the State of California.
 0 12
                  5. FUTURE is located at different locations, including, 650 Auto Mall Drive, Roseville, California

SSST 14      95661. FUTURE can be served through GARY STEVEN PLEAU, its registered agent for service of
hI           process in California, located at 2285 Diamond Boulevard, Concord, California 94520. FUTURE
   s 15
   2
        16   operates a business that includes providing sales of Ford motor vehicles and motor vehicle related

        17
             services to consumers in the State of California.

        18
                  6. FUTURE is an authorized repair facility for FMC, and is located 2285 Diamond Boulevard,
        19
             Concord, California 94520. FUTURE operates a business that includes provides sales and repairs of Ford
        20
             and new motor vehicles and motor vehicle related services to consumers in the State of California.
        21
                  7. Plaintiff does not know the true names and capacities, whether corporate, partnership, associate,
        22
             individual or otherwise of Defendants sued herein as DOES 1 through 100, inclusive, under the
        23
             provisions of section 474 of the California Code of Civil Procedure. Defendants DOES 1 through 100,
        24
             inclusive, are in some manner responsible for the acts, occurrences and transactions set forth herein, and
        25
             are legally liable to Plaintiff. Plaintiff will seek leave to amend this Complaint to set forth the true names
        26
             and capacities of the fictitiously named Defendants together with appropriate charging allegations when
        27
             ascertained.
        28

                                                                 Page 2

             COMPLAINT FOR DAMAGES
              Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 11 of 104 Page ID #:18

                                                                                                                          1"03



              1        8. All acts of corporate employees as alleged were authorized or ratified by an officer, director or
              2   managing agent of the corporate employer.
              3
                       9. On or about November 25,2016, at Roseville, California, Plaintiff purchased from Future Ford
              4
                  Lincoln, an automobile dealer located at 650 Auto Mall Dr. Roseville, California, for a sum of in excess
              5
                  of $57,771.96 (exclusive of tax and licensing fees), a 2016 Ford F-150 automobile, vehicle identification
              6
                  number 1FTEW1EP3GKF54339 (hereinafter referred to as “the F-150” or "the automobile"),
              7
                  manufactured by Ford Motor Company. The F-150 automobile was a new motor vehicle within the
              8
                  meaning of Civil Code Section 1793.22(e)(2) at the time plaintiff purchased it. Plaintiff has also incurred
        £ 9
M       .
                  costs in excess of $ 1,000.00 to register and insure the F-150 automobile. A copy of the contract between
Ilf 10            Plaintiff and Defendant for sale of the F-150 automobile is attached and incorporated hereto this
     ir.          complaint as Exhibit A and incorporated by reference.
             12
“I
to
      to —


m 13                   10.        Plaintiff bought the F-150 automobile primarily for personal, family, or household

SSST 14           purposes.
hI
        o 15
                       11.        Plaintiff bought the F-150 automobile with a balance remaining on the new motor vehicle
             16
                  warranty. (See Exhibits A and B)
             17

             18        12.        Defendants appended to the F-150 automobile an express written warranty undertaking to

             19
                  preserve and maintain the utility and performance of the F-150 automobile and/or provide compensation

             20
                  in the event of a failure in utility or performance. A copy of defendant's warranty of the F-150 automobile

             21
                  is attached and incorporated to this complaint as Exhibit B and incorporated by reference.

             22
                       13.        On or about May 2,2017, FMC issued Technical Service Bulletin (TSB) 17-2077 to
             23
                  address “2.7 GTDl - OIL CONSUMPTION WITH DTC P054 AND/OR P06DD, ROUGH IDLE,
             24   MISFIRE AND/OR WHITE OR BLUE EXHAUST SMOKE - BUILT ON 1-APR-2016 AND
             25   THROUGH 1-JAN-2017”. The F-150 automobile was built around August 29, 2016, making TSB 17-
             26   2077 applicable. See Exhibit G. Although the F-150 automobile was subject to repair, and although
             27   Plaintiff complaint and presented the F-150 automobile for the very issues raised in TSB 17-2077, FMC
             28


                                                                     Page 3

                  COMPLAINT FOR DAMAGES                                                                                          r
                Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 12 of 104 Page ID #:19

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                1   and its dealers failed to conform the vehicle to the applicable warranties. Attached and incorporated
                2   hereto as Exhibit C is a true and correct copy of TSB 17-2077.
                3
                         14.        On or about June 27, 2018, with 41,045 miles on the automobile’s odometer, the
                4
                    automobile exhibited a failure in utility and performance in that it would not perform as per spec. The
                5
                    automobile’s drivetrain and electrical systems malfunctioned. Even though the automobile’s spark plugs
                6
                    had recently been replaced ahead of schedule under warranty, the automobile misfired and required
                7
                    further warranty repairs. The automobile was serviced under warranty. Although FMC and its dealers
                8
                    were aware that TSB 17-2077 was applicable. Defendants failed to perform the TSB repairs and
          £     ®
H         ^
                    misrepresented the applicability of TSB 17-2077 to Plaintiff. Attached and incorporated hereto as Exhibit
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               10
                    D is a true and correct copy of RO560576.
     ii: “
     §         12        15.        On or about July 11,2018, with 42,081 miles on the automobile’s odometer, the
(0

SSP 13              automobile exhibited a failure in utility and performance in that it would not perform as per spec. The
O        cam
                    automobile’s drivetrain system malfunctioned. The automobile’s engine misfired for at least the third
in
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     ”
                    time and the automobile was serviced under warranty. Although FMC and its dealers were aware that
          S 15

               16   TSB 17-2077 was applicable. Defendants failed to perform the TSB repairs and misrepresented the

               17
                    applicability of TSB 17-2077 to Plaintiff. Attached and incorporated hereto as Exhibit E is a true and

               18
                    correct copy of R058757.

               19
                         16.         On or about August 6,2018, with 45,570 miles on the automobile’s odometer, the
               20
                    automobile exhibited a failure in utility and performance in that it would not perform as per spec. The
               21   automobile’s drivetrain system malfunctioned. The engine was replaced pursuant to TSB 17-2077. The
               22   automobile was serviced under warranty. Attached and incorporated hereto as Exhibit F is a true and
               23   correct copy of R0713265.
               24
                         17.        On or about December 13,2018, with 53,915 miles on the automobile’s odometer, the
               25
                    automobile exhibited a failure in utility and performance in that it would not perform as per spec. The
               26
                    automobile’s drive-train system malfunctioned. The automobile would not turn on. The automobile was
               27
                    serviced under warranty. The automobile was out of service by reason of repair of nonconformities for
               28


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                    COMPLAINT FOR DAMAGES                                                                                            ?
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            1   over thirty (30) days. Attached and incorporated hereto as Exhibit G is a true and correct copy of
            2   R0312878.
            3
                     18.         To date, Plaintiff’s vehicle has not been repaired. The automobile must be/will be out of
            4
                service by reason of repair of nonconformities for at least thirty days (30) days.
            5

            6        19.         As a result of Defendants’ refusal and failure to repair the vehicle and to conform the
            7   vehicle to applicable warranties. Plaintiff purchased alternative transportation in an amount exceeding
            8   $30,000.00.

      £ ^
                     20.         The F-150 automobile was subjected to repair by defendant's representative a reasonable
           10
                number of times in attempts to correct the problems referred to in the paragraphs above of this complaint

      r4        and to conform the F-150 automobile to the applicable express warranties. These attempts were
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o               unsuccessful in that the F-150 automobile still exhibited and will exhibit a failure in utility and

ii!s"           performance in that it would not and will not perform as per spec, as described above. Additionally, the F-
                150 automobile were/are/will be out of service by reason of repair of nonconformities for more than 30
- ' H
    S 15
    C           calendar days since delivery. Additionally, the vehicle was not serviced and/or repaired so as to conform
           16
                the F-150 automobile to the applicable warranties within thirty (30) calendar days.
           17

           18        21.        On or about December 13,2018, Plaintiff requested that FORD MOTOR COMPANY

           19
                repurchase the automobile given the unequivocal defects in the automobile. FMC opened case CAS-

           20
                16615482-X8R0S2 and again demanded a repurchase. To date, FORD MOTOR COMPANY refuses to
                repurchase the vehicle, falsely claiming that the automobile does not meet the criteria for repurchase
           21
                under Nevada law, even though the vehicle was purchased in California and California law is applicable.
           22
                Attached and incorporated hereto as Exhibit H is a true and correct copy of the claim log.
           23

           24
                     22.        On all dates stated above and affer the unsuccessful attempts at repair, Plaintiff demanded
           25   that Defendants replace the F-150 automobile in accordance with Civil Code Section 1793.2(d)(2)(A) or
           26   make restitution to plaintiff in accordance with Civil Code Section 1793.2(d)(2)(B). As of the date of this
           27   complaint. Defendants have failed and refused, and continues to fail and refuse, to replace the F-150
           28   automobile or make restitution.

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                COMPLAINT FOR DAMAGES
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           Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 14 of 104 Page ID #:21

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           1        23.            It is FMC’s policy to “Reduce RAVs and to Reduce BBB cases” - to quickly deny all
           2   repurchases and avoid liability of any kind. It is also FMC’s “policy to honor the new vehicle limited
           3   warranty and State Lemon Laws” but “FMC does not repurchase vehicles except in extreme
           4   circumstances” in willful and deliberate disregard and noncompiiance to FMC’s obligations.
           5
                    24.           As a result, plaintiff has been damaged in an amount excess of $90,000.00.
           6

           7        25.           FMC does not have a State Certified Arbitration program as shown on
           8   http://www.dca.ca.gov/acp/ acpprocess.shtml, and therefore, Plaintiff Is entitled to automatic civil

     ST    9   penalties. Additionally, because FMC willfully failed to comply with its obligations under Song-Beverly

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          10   Consumer Warranty Act, Plaintiff is entitled to civil penalties in an amount in excess of $180,000.00 for a

 ii"           total of $270,000.00.
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                    26.           As a further proximate result of defendant's failure to comply with its obligations to
          13
 d CQIA
               plaintiff, plaintiff has been required to incur costs and attorney's fees at a court-approved rate of $605.00
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h g            an hour.
     S 15

          16       II. FIRST CAUSES OF ACTION

          17                    VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
                                         (Against Defendants FMC and DOES 1 Through 100)
          18
                          27.     Plaintiff incorporates by reference the allegations set forth in paragraphs 1 through 26.
          19

          20              28.     FMC is the warrantor of the F-150 automobile's express warranty.
          21
                          29.     Pursuant to the F-150 automobile's express warranties, FMC undertook to preserve or
          22
               maintain the utility or performance of the F-150 automobile or provide compensation if there was a
          23
               failure in such utility or performance.
          24

          25              30.     The F-150 automobile has and has had serious defects and nonconformities to warranty

          26   including, but not limited to, failure in utility and performance in that it would not perform as per spec

          27   and the defects described above.

          28


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               COMPLAINT FOR DAMAGES                                                                                               r
         Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 15 of 104 Page ID #:22

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         1           31.     Under the Song-Beverly Consumer Warranty Act (the "California Lemon Law"), the F-
         2   150 automobile is a "consumer good" leased primarily for family or household purposes and Plaintiff has
         3   used the F-150 automobile primarily for those purposes.
         4
                     32.     Plaintiff is a "buyer" of consumer goods under the California Lemon Law.
         5

         6           33.     The foregoing defects and nonconformities to warranty manifested themselves within the
         7   applicable express warranty period. The nonconformities substantially impair the use, value and/or safety
         8   of the F-150 automobile.

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                     34.     Plaintiff delivered the F-150 automobile to FMC FMC’s authorized repair facilities, for
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             repair of the nonconformities on numerous occasions.


g S.j2- 12           35.     FMC’s authorized repair facilities, were/are/will be unable to conform the F-150
iSl- 13      automobile to the applicable express warranties after a reasonable number of attempts.
ii!s
                     36.     FMC’s authorized repair facilities, were/are/will be unable to conform the F-150
B   2 15
    c        automobile to the applicable express warranties within thirty (30) calendar days.
        16

        1/           37.     By failure of FMC to remedy the defects as alleged above, or to issue a refund or

        18   replacement, FMC is in breach of its obligations under the California Lemon Law.

        19
                     38.     Plaintiff is entitled to justifiably revoke acceptance of the F-150 automobile under the
        20
             California Lemon Law. This Complaint also, again, hereby rejects and revokes acceptance of the F-150
        21
             automobile.
        22

        23           39.     Under the California Lemon Law, Plaintiff is entitled to reimbursement of all payments

        24   made towards the F-150 automobile.

        25
                     40.     Plaintiff is entitled to damages resulting from FMC’s failure to comply with its
        26
             obligations under the California Lemon Law.
        27

        28


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             COMPLAINT FOR DAMAGES
          Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 16 of 104 Page ID #:23

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          1           41.      Plaintifif is entitled under the California Lemon Law to recover as part of the judgment a
          2   sum equal to the aggregate amount of costs and litigation>reIated expenses, including attorney’s fees,
          3   reasonably incurred in connection with the commencement and prosecution of this action.
          4
                      42.      Plaintiff is entitled, in addition to the other amounts recovered, to a civil penalty of up to
          5
              two times the amount of actual damages because FMC willfully failed to comply with its responsibilities
          6
              under the California Lemon Law.
          7

          8       m, SECOND CAUSE OF ACTION

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                               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
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         10                                   (Against All Defendants)

 ii:                  43.      Plaintiff incorporates by reference the allegations in paragraphs 1 through 42.
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                      44.      Plaintiffs purchase of the F-150 automobile was accompanied by FMC’s and FUTLIRE’s
         13
Es            implied warranty of merchantability. (See Exhibits A-H)
         14
hi
     S 15             45.      The implied warranty of merchantability means and includes that the goods will comply
     5
         16   with each of the following requirements: (1) they would pass without objection in the trade under the
         17   contract description; (2) they are fit for the ordinary purposes for which such goods are used; (3) they are
         18   adequately contained, packaged, and labeled; and (4) they conform to the promises or affirmations of fact
         19   made on the container or label.
         20
                      46.      Because the F-150 automobile was sold to Plaintiff with a defect that manifested itself
         21
              within the period of the implied warranty and which substantially reduces its safety and performance,
         22
              each automobile (1) would not pass without objection in the trade under the contract description, (2) was
         23
              and is not fit for the ordinary purposes for which such goods are used, (3) was not adequately contained,
         24
              packaged, and labeled, and (4) did not conform to the promises or affirmations of fact made on the
         25
              container or label.
         26

         27            47.     Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the F-150

         28   automobile, and is entitled under the California Lemon Law to rescind the purchase contract and to

                                                                   Page 8

              COMPLAINT FOR DAMAGES
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              Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 17 of 104 Page ID #:24

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              1   restitution of all money paid towards the purchase contract. This Complaint also, again, hereby rejects and
              2   revokes acceptance of the F-150 automobile.
              3
                          48.     Plaintiff has been proximately damaged by FMC's violations of the California Lemon
              4
                  Law, including its failure to comply with its obligations under the implied warranty of merchantability.
              5

              6           49.     Plaintiff is entitled to the remedies provided by the California Lemon Law, including the
              7   remedies set forth in Civil Code Section 1794, and including his/her attorney's fees, costs, and expenses.
              8
                          50.     Plaintiff is entitled to automatic civil penalties without a showing of willfulness because
         £ ^
                  FMC does NOT maintain a State Certified Arbitration program as shown' on http://www.dca.ca.gov/acp/
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                  acpprocess.shtml.
             11
    Is
     6                            Plaintiff is entitled to civil penalties as a result of Defendants’ willful noncompliance.
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Es                    IV. THIRD CAUSE OF ACTION

    S S                                                    NEGLIGENT REPAIR
         s 15                                              (Against All Defendants)
         2
             16           52.     Plaintiff incorporates by reference the allegations in paragraphs 1 through 51.
             17
                          53.     At all times mentioned herein. Defendants and DOES 1-100, were engaged in the
             18
                  business of designing, manufacturing, testing, distributing, selling, inspecting, repairing, marketing,
             19
                  constructing, labeling, and advertising of Ford vehicles, including the automobile.
             20

             21           54.     At all times mentioned herein, FMC, FUTURE and DOES 1-100 had a duty of care in the
             22   designing, manufacturing, testing, distributing, selling, inspecting, repairing, marketing, constructing,
             23   labeling, and advertising of Ford vehicles, including the automobile.
             24
                          55.     At all times herein mentioned, FMC, FUTURE and DOES 1-100 had a duty to warn all
             25
                  users of their vehicles of the attendant risks of harm, said risks of harm being at all times known and/or
             26
                  foreseeable to Defendants.
             27

             28


                                                                      Page 9

                  COMPLAINT FOR DAMAGES                                                                                               4
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          1              56.   At all times herein mentioned, FMC, FUTURE and DOES 1-100 knew, or in the exercise
          2   of reasonable care should have known, that if the automobile was not properly designed, manufactured,
          3   tested, distributed, sold, inspected, repaired, marketed, constructed, and labeled, for the use and purpose
          4   for which the automobile was intended, the automobile was likely to cause injuries to owners, passengers,
          5   and users of the automobile.
          6
                         57.   On all dates where the automobile was serviced, Plaintiff had asked FMC, FUTURE and
          7
              DOES 1-100 whether or not the automobile was in a safe and operable condition. Plaintiff asked if there
          8
              had been any previous problems with the automobile. Plaintiff asked DOES 1-100 about the automobile’s
    £     ®
H
              history and stressed the need for a problem-free and stress-free vehicle. DOES 1-100 represented to
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              Plaintiff that he would have a problem-free experience and would not have to deal with any repairs or
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              problems. DOES 1-100 stressed that the automobile would not experience any problems. Plaintiff was
®ds-          told that all components were operating as designed, operating properly and that Plaintiff would be
         13
              “COMPLETELY SATISFIED” with the automobile.
5^37 14
    I
E   o 15                 58.   After Plaintiff purchased the vehicle, it was discovered that the automobile had been
    2
         16   serviced for certain repairs ahead of its maintenance schedule, showing that the automobile did show

         17   signs of previous problems and safety issues.

         18
                         59.   At a time prior to the sale of the automobiles, FMC, FUTURE and DOES 1-100
         19   intentionally and with conscious disregard to Plaintiff’s safety and rights misrepresented the history of the
         20
              automobile to hide the fact that the vehicle was defective and unsafe when used and operated in the
         21   manner for which it was intended.
         22
                         60.   The automobile’s defects existed at the time it left FMC’s, FUTURE’, and DOES l-lOO’s
         23
              control.
         24

         25              61.   As set forth above, since purchasing the automobile. Plaintiff has delivered the subject
         26   vehicle for repair to Defendant FMC and/or Defendant FMC’s authorized repair facility, FUTURE, to
         27   repair nonconformities to warranty, including, but not limited to defects which have manifested in the
         28   automobile.

                                                                 Page 10
              COMPLAINT FOR DAMAGES
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        1           62.      As stated above Defendant FUTURE is FMC’s authorized and actual agent regarding
        2   sales, repairs and maintenance of the subject vehicle.
        3
                    63.      Defendants owed a duty of care to Plaintiff to exercise reasonable care in performing the
        4
            repairs described above.
        5

        6           64.      Defendants failed to exercise reasonable care in performing the repairs described above.
        7
                    65.      Plaintiff has suffered damages resulting from Defendants’ failure to exercise reasonable
        8
            care in performing the repairs described above. Such damages include, but are not limited to: incidental,
   £ ^
            consequential, and general damages, including, but not limited to, reasonable repair, towing, and rental
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            car costs actually incurred by Plaintiff.
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ii"” 12             66.      As a direct and legal result of the automobile’s defects, Plaintiff was injured by the
       13   automobile while it was being used in the manner for which it was intended, the risk of which was at all
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5*^1   14   times known and foreseeable to FMC, FUTURE and DOES 1-100. Plaintiff is entitled to general
hi
   PH 15    damages, in an amount to be proven at trial, for her/his injuries, pain and suffering, mental suffering,
   C
       16   medical expenses, property damage, lost earnings, and lost earning capacity.

       17
                V. FOURTH CAUSE OF ACTION
       18

       19                                               MISREPRESENTATION
                                                         (Against All Defendants)
       20
                    67.      Plaintiff incorporates by reference the allegations in paragraphs 1 through 66, inclusive.
       21
                    68.      Defendants represented to Plaintiff that the automobile was safe to drive.
       22
                    69.      Defendants represented to Plaintiff after each service attempt that the automobile was
       23
            serviced properly and that there would be no further problems with the automobile.
       24
                    70.      Defendants represented to Plaintiff that Plaintiff’s vehicle did not qualify for repurchase.
       25
                    71.      Defendants represented to Plaintiff that Plaintiff’s vehicle was not subject to repurchase
       26
            under California’s Lemon Laws.
       27
                     72.     Defendants represented to Plaintiff that there was nothing they could do to assist Plaintiff
       28
            other than offer to re-inspect the F-150 automobile.
                                                                 Page 11

            COMPLAINT FOR DAMAGES
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           1            73.     Defendants represented to Plaintiff that a fact was true.
           2            74.     The representations made by Defendants were false.
           3            75.     Defendants knew that the representations were false when they made them, or that
           4   Defendants made the representation recklessly and without regard for its truth.
           5            76.     Defendants intended that Plaintiff rely on the representations.
           6            77.     Plaintiff reasonably relied on the representations made by Defendants.
           7            78.     Plaintiff was harmed.

           8            79.     Plaintiff’s reliance on the representation made by Defendants was a substantial factor in

      £    ^
               causing his harm.

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          10   WHEREFORE, Plaintiff prays judgment as follows:
                   1.   For genera] damages, or such other amount as proven at trial;
ilil- “            2.   For punitive damages in a sum as proven at trial;
Si“- 12            3.   For actual damages in a sum as proven at trial;
     g_
<0                 4.   For rescission of the automobile’s purchase contract and restitution of all monies expended by
lap 13                  Plaintiff towards such contract;
                  5.    For a civil penalty under the California Lemon Law equal to twice Plaintiff’s general damages;
SSS7 14
                  6.    For a civil penalty of two times the amount of actual damages;
hi
p                 7.    For prejudgment interest at the legal rate;
  s 15
                  8.    For reasonable attorney’s fees at ^e rate of $605 per hour;
          16      9.    For costs of suit herein incurred; and
                  10.   For such other and further relief as the court may deem proper.
          17

          18      VI. JURY TRIAL DEMAND

          19        Plaintiff hereby demands a trial by jury of all issues so triable.

          20

          21   DATED: January 21,2019                             THE LAW OFFICES OF NATAN Dm OODI
          22

          23
                                                                                         --I
                                                                                    Nat^^Daroodi, Esq.
          24
                                                                                    Attorney for Plaintiff

          25

          26

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               COMPLAINT FOR DAMAGES
         Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 21 of 104 Page ID #:28

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         1                                   DECLARATION OF NATAN DAVOODI
         2
                      I, Natan Davoodi, hereby declare on oath as follows:
         3            1.       I am an attorney licensed to practice law in the state of California. I am over the age of 18
         4   years and I have personal knowledge of the matters attested to herein. If called upon to testify, I would
         5   and could competently do so.
         6           2.        I make this declaration pursuant to California Civil Code section 1780(c) on behalf of my
         7   client, Plaintiff Justin Fredericksen.

         8           3.        FORD MOTOR COMPANY is located at One American Road, Detroit, Michigan 48126.
             Defendant can be served through “C T CORPORATION SYSTEM”, its registered agent for service of
   £     9
             process in California, located at 818 West Seventh Street, Suite 930, Los Angeles, CA 90017. Defendants
U?           operate a business that includes providing sales of FORD motor vehicles and motor vehicle related
 ii:
        12
             services to consumers in the State of California.
  CD^

                     4.        FUTURE FORD OF CONCORD, LLC is located at different locations, including, 650
sap 13
ss s
  Win        Auto Mall Drive, Roseville, California 95661. FUTURE can be served through GARY STEVEN
   I         PLEAU, its registered agent for service of process in California, located at 2285 Diamond Boulevard,
   P 15
             Concord, California 94520. FUTURE operates a business that includes providing sales of Ford motor
        16
             vehicles and motor vehicle related services to consumers in the State of California.
        17
                     5.        Pursuant to CCP § 1782, Plaintiff contacted Defendants prior to the commencement of
        18
             this action, notifying Defendant and demanding that Defendants correct, repair, replace, or otherwise
        19
             rectify the goods or services alleged to be in violation of Section 1770. Plaintiff sent notice in writing via
        20
             certified mail.
        21           I declare under penalty of perjury under the laws of the State of California that the foregoing is
        22   true and correct. Dated this 21 day of January 2019 at Los Angeles, California.                         W
        23

        24
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        25                                                                                               ll
                                                                                          Attorney for Plaintiff
        26

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             COMPLAINT FOR DAMAGES                                                                                              i>
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                 EXHIBIT A
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                 EXHIBIT B
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http://www.fordservicecontent.coin/Ford_Content/vdirsnetn'SB/EU/--WTSB17-2077/US/E... 5/2/2017
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 jnariN fiiLLZAK p&bd&ricsrser                                                                     P.O.Box1^0
                                                                                              Reno. N^^ada 8^10^970
                                                                         EtAGB 1                   (776)82^^3200
 HOMS:                             coirr4                           PRE-IHVOICB-
 BUS:                                                              SERVICE ADVISOR:       1706 nrrHARi. p mcnallY
            COLOR      VBW           •jKWRWCXW. • •■■=.                                                                                 TAG
 GRBY                   16 PORO 9-lBO                                             S4334                            41Q4S/41047 ^996
   OB, DATE            pRpg Dim WIBLEXP.                  pRoas^                           RATC.                 rnYMafr    n^.QATE ‘
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             RCiO^Cpr                                                                                                         27JDW1B
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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 38 of 104 Page ID #:45




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                EXHIBIT E
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 39 of 104 Page ID #:46




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 CBnearn      24 CUSTtWEB STATBS reRPORH HULTZ-miNT USPECTZON                            operation            Tech                  Mount
 Cum            VRC                                                                       99P                  S82                   0.00
 ^rr«ct1en      PERPDMf MULTX-POXNT INSPECTION
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 lypeic                                                                                  TOTAL QURCe RR CONCERN                      0.00
 CBmm *S1 OISTONEA STATES VEHIOE UMS ROUOH AM) SEUVlCT-WteiW;.^ -- ;'.: operation                             recb                  Amount


 cuse           PCM CWTC P0297 VEHICLE OVERSPEED CONDITION. SNAPSHOf ^DATAIT              ECSD                 S82                 129.86
                SH0M5 VEHICLE TRAVELWC 100 NPH.                   ■
 correction     IDS SELF TEST PCM CNDTC P0297 VEHiaB OVERSPEEO CORprt^n.l?:
                SNAPSHOT DATA SH0H5 VEHZOE TRAWL1M6 100 MPH. CLEAREQ^:-
                ROAD TESTED OKAY, NO MXSPZRE COUNTS, lO DTC SET. Nj^-VEHia^:'
                FAULT VERIFIED.                             •.
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                                                                                         .LAB-MECHANXCAL                           129.86
 Typeic                                                                                  JOTAL QIARgE FOR CONCERN.                 129.86
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 SUPPLIES                                                 25.97 .•                      Uy                                       160.13
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 LAB-MECHANICAL                                          129.66 . y?                    !§■                                    160.13
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 Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 40 of 104 Page ID #:47



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  XnvdcMd: 07/WiB »t29:5B M                                          u pen) F>iso cttt CM wcr
     you fQii^ any qimnorliS - ||il6SI7        JbSUS DATA
                                                                                     5-
  ALL INVOICES NOT PAID IN XTS ENHUETY VZTHZN 30 DAYS SHALL ACCRUE
  INTEREST ON THE Uri>AZ0 BALANCE AT THE RATE OP l.SX PER NQNTH                                                              i
  TOGETHER KITH ATTORNeYS* PEES AND GOsfe RS GOLLECTZON.
       STORASE FEES ARE S30.00 PER DAY AFTER CQMPLETXQN OP REPAIRS*****




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                EXHIBIT F
     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 42 of 104 Page ID #:49

 COSTOMBR «: 169218                                                        713265
                                                                                                  town and country ford,                                 BNC.
                                                                          ACC0DNTIH6                        _y01 EattIndiwndBnoB Botlevard
 JDSTIN FREOBRICRSEN                                                                                                  NORTH CAROUNA 28212
                                                                                                                 phone (704) 63Me00

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 RQiiEJi                                                                                                    83MSn
 BPS;                      rigT.T..                               SERVICE ADVtSnP- 4547
  ■••••COLORS      YEAR     MAKE/MOOa. • >          • ••               vw           .......,>U;CTABL MCPHearr^m
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 ; V D&;'DA’reT^ PRoanATE WAHR.E»»^             ^RROMBED                     pqnq.                       i&TP^*r- '       45570/45585               PM85
 OSAUGia I(                                                                                                             RAYU
 05APG18 Pr                             I     WAIT QflAnfilA
 r;'^"’aa«»Bgp                HEAOY          j ^KJlIS                                                                CASH                  27AnG1fl
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lZl24 OSAPGlfi 14i2n 27AOfilft
^q^QggOpE TECH TYPE A/HR5 R/HR.<S
^'^miSaMAi STATE WRKHCH^iOT^C^ COST    garjR                                           COMP                                       NET          TfVPAT.
                              s ON MISFIRE
                                                                                                                                                                   i

                    6412     V    0.25       0.00                 0               0
                    6865     w po.'Si'itrdo 47600 179554                                                              '179^;S4 -U?95ii^4-
                              21.16 17.00 47600                           179554             **
               1 FL3Z*6006*F.SERViesg'-'V:V.:                                 ^                                         1795.54            1795.54
               ENGINE ASY                     451442                      758423                 0 7584.23
                                                                                                                           ■• ■    ;   •



               f^lZ^6?C BOLT ^                                                                                          7584.23            7584.23
                                                                                               0           4.62
                                                                                                                        1200;bio ' ISboSaOv::;. -:
 ..... ■          3 7L1Z*4B496*D BOLT •: i. =:. :;;.vi-543 •                                                               4.62
                                                                912                            0           3.04            3.04                          \ •• ••
              .. .1 *W520111*S440 NUT                  75                                      0           1.50            1.26
                ' 4 •*W520113*S440 NUT             a^2•■ 256                                   0           0.76            0.64
 ............... 4 *W520514*S440 NOT -
            • ADJUSTING SCREW                                ’2016                            0            6.00            5.04               20.16 ■
                  1 *W713244*S439 BOLT               225       378                            0
            • U ^W714689*S437 NUT                                                                          4.50            3.78                3.78
                                                               :126                   • =     0            1.50            1.26
                  2 *W714717*S439 BOLT              250                                                                                        i:26
 •;• ••          .1 >W7152H*S439 BOLT                          420                                         2.50            2.10                4;20
              3 *n716530*S440 NUT AND                                                                      4.83            4.05                4.05
              ^^ASHBR:ASY - HEX.
     ........1 ?^808684*Sl6l BOLT                                                           •0 •           1;39            1.18                3.54
      •• >': '*- '2 BL3Z^'9229*C KIT - "O"
                                                            300             504               p
                                                                                            . •••• •       6.00            5.04                5.04
                  RING                        12264
*• '*•*. * *V*
                  6 SP*542* SPARK PLUG     vy-^3636":'':y^6l06                               0         111.49           103.02              206.04
                                                                                             0          11.02            10.18
                  4 *W714870*S430 NUT           500       840                                0                                                61.08
                  2 *W716117*S437 BOLT " ^                                                               2.50             2.10                 8.40
                                                          384                                0           2.28             1;92
           ,   1 *ir716383*S437 STUD            52                                                                                           '•3vda: V- •••
                                                                             87              0           1.03             0.87
               1 BL32*6C683*A t-lLTfeR^^Y-y 'V.iao                          722                                                                0.87
                                                                                             0           9.56             7
               1 DS72*19B596*A KIT - AIR
               CONDITIONING                                           .    2298              0
               2 FL3Z*5C226*A QAS^T                        1028                                          24.87 ■ ■' ■22.;96^;i* -                     i-vV-:;.'
                                                                           1728              0
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        Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 43 of 104 Page ID #:50


    CDSTOMER «: 169213                                                        713265
                                                                                              TOWN AND COUNTRY FORD, INC.
                                                                             ACCOONTING                6401 EiBttndepandemBoulward
                                                                                                     CHWaxrrrc. fram CAR0LB4A 28212
    JDSTIN FREDBRICKSEN                                                                                     PHONE (nX) 6a»>9600

                                                                                PAGE 2
                                                                                                   fiSMZm fi3M377
                                                                                                       esMzn
 ROME 3mm                   ■p:oNT^ii
 BOS:                         CELL;                                      SERVICE ADVISOR; as47 mCHAEL MCPHRARROW
        COU)R .     YEAR           MAKEMOOa.                                     vm                 ucBisE                                                       -sTAO v :

                     16.   FORD P-150                                  1PTEW1EP3GKP54.‘^.‘^ Q      97F217           45570/45585                                  rM85
       DEL DATE.-.jO PROD. DATE                       Av •:-rPROW^                 PONO.           RATE V^AYME^ :h I v^:: ^JNV. DAli •• V •
 05AUG18 IS
 OSAOGlfl Dt                                           WAIT ORAncift
     RX>.OPBQ)                                                                                                                            27AOGlfl
                                    READY               OPTIONS; DLR:F21212
13:24 Q6A0Gia ll4;2Q 27AnfllA I______
LINE OPCODE TECH TYPE A/HRS S/HRS        COST                                    SfiT.R    riw
           •'ir"t-r4Z*6A340*A             '541                                    909         0     ^:oS                                                           ‘
            1 FT42*9J323*A TUBE ASY      1187                                    1994         0     19.94           19.94                          19.94 .
          -1 ^T42^9J323*B TUBE .A^Y • • •1178                                    1979         0     19.79           1935                          ;i9-7S.               ■-■■■
            1 E*T4Z*8507*C GASKET -
    ■ -v-. -WATER POMP                                                            428         0
                 . 1 FT4Z*12A648*B SENDER
                  '*ASY       *   •                                  • 475       798          0     •8; 64     ■■•'•••••••7’;98=‘-‘ •7 .-98
                   1 CU7Z*19B508*A SEALANT                            2434      4089          0     44.25            40.69
             ■ ':- i PM*4*A BRAKE CLEMffiR : ' -^
                                               330                                                                                     4P:.8?
                                                        554                                   0      6.00      •■•■=’5;S4 ■ • •••5:S4 •
                1 TA*24*B ADHESIVE             503 .    845                                   0      9.15                8.45       ...8:45
                i ••YN*12*D OIL - •                                                                                               . ».        • •
                                                                                                                                          • ; •   •.i '•
                CCMPRBSSOR - AIR CONDITI    1439      2418                                    0     26.16           24.18
                1 YN*35* OIL - COMPRESSOR- V :* :. '                                                                               V ■. ms.
                - AIR CONDITI               4119     .8920                                    0     69.20           69.20
              ■ 1 XL*i* LUBRICANT -                                                                                                               69.20
                UNIVERSAL ANTI-SBI            215      .361                                   0      3.90             3.61                           3.61
               ’t'-Tkt^Si* SEALANT -
              .. SILICONE                                        2018           3390          0     36.69           33.90
         •          '^C^OO^A REMOVER -                                                                                                            33.90
                  SILICONE                                       652            1095          0     11.85           10.95
               "1           ANTI-FRBBZB                        ■a-676                                                                             10.95
                                                                                2816          0     28.16           28.16                         28.16
                  10 XO*5W30*BSP MOTORCRAFT
                • SAE-^^SO API GF~5                             ^490-.-        ■'3240         0      3.24             3.24
                  1 FT4Z*6731*A FILTER ASY                                                                                                        32.40
                                                               .-V
                                                                     ■Sl'2-''V'-'i'860        0      9.31             8.60                          8.60
                rl PL3Z*6006*P CORE
I
         '■     return"                                     -120060 >=120000                  0 1200.00        1200.00-1200.00 ■
 ..    . .172077E ADDITIONAL TIME FOR PRIOR APPROVAL
          •      8865    « 0.30 -O-.bO^-vCe^O'   3169                                                               31;•69'V^;'^;3l,69.•^:•vV
 I •
        FC: E29.42
        PART#: 6049                            ■=.4

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        COUNT:                                                       494793              830311 TPARTS
        CLAIM TYPE:                                                                                                  >,                                I   • ■

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     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 44 of 104 Page ID #:51


 CUSTC^ffiR #: 169218                                               713265
                                                                                     TOWN AND COUNTRY FORD, INC.
                                                                  ACCOUNTING                   6401 EMlndtpmdinMBeulMwd
 JUSTIN FBEDERICKSEN                                                                         CHWtUJTTC, NORTH CARQUNA 28212
                                                                                                    PHONE: (704) 63M000
                                                                                             DcegruNea
          m                                                            PAGE 3
                                                                                           BS'STS 63MZ77
                                                                                               fi9»aZ72
 HOMEtWa                 I^CONTMM
 BUS;_______                  ngT.T.;                      SERVICE ADVISOR:                akai MICHAEL MTPHRRRfinM
  ~.>=COLOR .                  HAKEAIOOEL               •.•{••••••••••• •• VIN   •   ••
                                                                                          • vLicBiaE: I^BAOEfl/OUr               TAG

                 16 FORD F-15Q               ________lgTEW3^P3GKF54339l                    97F21 7         4557Q/455fl.S      rMSS
   DBL DATE '   PROaOATE WARR.EXP.           PfH3yBED]:sV;Tvl                                                      r
                                                                                                                         MV. DATE
 05ADG18 IS
 05AOG18 PI                                 WATT                                                     CASq
    • ■aaopBCD                  READY
                                                                                                                       27A0G18
                                             OPTIONS:       DLR:F21212
13:24 OeAUGlB ll4*2Q 27Anglfi i
LINE pPCODE TECH_ TYPE A/HRSS/HRS  GOST       fiAT.R mwo          T.Tcr      N^T    TOTAL
    6412                  ^           -48440 -■•"•■■•••182723 '^rtj^RV-''^^
P^TS-*    8303.11 LABOR:    1827.23 OTHER:          0.00       TOTAL LINE A*     10130.34
 45585 ELECTRONIC ENGINE DIAGNOSIS/ P13QD/P0305/P0524. "RUN OASIS AND



B *Deferred Maintenance IntervalCustMjer Has Been Informed That A                                              ^
        Maintezumoe Interval Is Now'Due
    DMB DEFERRED BASIC
               8865.      IPS 0.00     0.00        0 •      0 ’        •         .'n 00                                   0.00
PARTS: -.j              LAB^:            0.00 OTHER:         0.00    TOTAL LINE B:’
C ^Complimentary Multipoint Inspection ... a $49.97 Value                                                                 0.00
      99P 27 POINT INSPECTION
               8865       IPS 0.02 0.00           0        0                       0.00                                   0.00
PARTS:         0.00 LABOR:'              0.00 OTHER:         0.00   TOTAL LINE C:
D** ENTERPRISE RENTAL CAR FORD ASSISTING                                                                                  0.00
CAUSE: Alternate Transportation
     LOAN TCP LOANER
               8865           V 0.00 0.00         0        0                       0.00                                   0.00
    FC: PART#: RENTAL COUNT:                         0            0 TPARTS
    CLAIM TYPE:        Pll
    AUTH CODE:         MSPA879717
    8865                                             0            0 TLABOR
MXSC LOANER PROVIDED BY ENTERPRISE
         PO#713265
                                              38500    38500                  385.00                                    385.00
PARIS:         0.00 LABOR:             0.00 OTHER:        385.00    TOTAL LINE D«                                       385.00
 4S58S FORD ASSISTING IN CUSTOaERS* RENTAL VEHICLE MSPAS?9717 CAS- ‘
 1544514 6*"()6K2S9
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     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 45 of 104 Page ID #:52


COSTOMBR #: 169218                                                    713265
                                                                                            TOWN AND COUNTRY FORD, INC.
                                                                     ACCOUNTING                           Stti Eatttndapgndtwirmewrt
                                                                                                      CHARLOTTE, NO^ CAROUNA 28212
JUSTIN FKBDERICRSEN                                                                                        PHQ(^(70«)6S»«600

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uauzimmm                B com mm
Bfligs-COLOR                                                     SERVICE ADVISOR: 4547
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                             UAKEJUOOB.                                                                                                     • •'TAO - •

                16 I FORD P-ISO                                 1 FTEWlEP3g(P54339l                97P217
                                                                                                                      45570/45585           n485
  DEL DATE     PROO.OATE WARfLEXP.                                                                                              • :-yN.pATE ■•••:•:•■••.
05AU616 I£
OSAUGlfl DP                                  WAIT OfiAUGial_________
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 ^^\R.o.€>reiH)               fSAOY       :::2 OPTONS: DIR:F21212

13:24 06AOG18 ll4!2Q SIAUGlfl I____________
LINE OPCODE TECH TYPE A/HRS S/HRS      COST RAT.B rnjjp LIST -----NET---- TOTAL
EST: 135.52          06APG18 13^24 •••-SA^^-4547^:"-''':




    DATE        START     FINISH      'rejRATioN . TYPis             TKH \- • iimt 's) '                  chG    "-- ^
08-09-18        07:39      10:59            3.33      w
08-10-18        07:31      12:15       ■'■'•■•■■S.'73 ' ■ •■■■» ■■' ■■'8865- ■-
08-13-18        07:56      13:41              5.75               H      8865                     A
08-15-18        Q7:50      14:56          ;• •7;i0 ••••:•:■:»»         -'-VdSeS • ■
                14:56      14:56             0.00          W            8865                     B
                14:56      14:57             0.02          W            8865
ACCOUNT        SALE         COST             CONTROL                 ACCOUNT          SALE " ' COST “                        CONTROL
14420          182723        48440                                   14720            827071   492303
14782            3240         2490                                   14434 .                     0                   0
12200           38500        38500                     713265        12200        1051534                 *******
17173                  Q ' *******




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                                                                                                ». • »,
        COST.            fi COMP TOTALS                     581733 1051 534                 0
ON  BSMLF OP  GBMCMQ  DEMSl  I HERSBY                  8TA1 BSrrcFo^uQicER                         ••QBSCIgniOM
GSm’rHAT                                                                                                                        • •T0TALB":-;:;"V
HagQMaAOOURW&UMIEBioroBWfiBHOMyit                                                               LABOR AMOUNT                          0.00
88M» OBBORBEDOBg PGRFQRMeD ATNO                                                                 PARTS AMOUNT., •
owMBTo emmiHBcwa no MV/moN                                                                                                            0.00
FROM THB >mawNa: op thb ySSSk or                                                                GAa<MULUBE
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RgHOB) UNDER THB GUM HAD BEBt                                                                   SUBLETAMOUNT.                        O.OQ
OOWenEDM ANT WAY MTM ANT MXDBrT.                                                                MSC. CHARGES
>MlroiC8flR lOBUBE. (ECan» SUPPORIMb                                                                                                 0.00
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DATE OF IVWMENr NOnWTKM AT THE                                                                                                       0.00
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nuiuumrAiTVEBOFPORa
                                                                                                SALSTAX                               O.QO
                                                                                                PLEAKPAY
                                *a*                                                             THeAMOimT                            0.00

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       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 46 of 104 Page ID #:53


 CUSTOMER I: 169218                                                 713265
                                                                                  TOWN AND COUNTRY FORD, INC.
                                                                    INVOICE                 <>WUjOTTE north CAROLINA 28212
 JUSTIN FREDERICKSEN
                                                                                                 PHONE; (7M) 6386600

                                                                    PAGE 1
                                                                                        68a427S B3MZ77
                                                                                            OSMZTa
HOME II                         CONail
BUS!                              rBT.T.«                      SERVICE ADVISOR:• 4547 MICHAEI. MCPHRAR.qnW
 s.
      /•COLOR       ESS]   •••• ^ - MAKBiylOOEL           <=•.• ••••• VM         ■ ucaoE T Boai^M/our                                     TAG
                     16    FORD F-ISO              ________1FTEW1EP3GKF54329             97P217
 ■-COEL DATE        PROaCAlE WARR.E)P.             •PROliSEP^:--:      roNO. ^                  T PAYM^
                                                                                                              45570/45585             PM85
                                                                                                                               MV. DATE
OSAUGld li
05AUG18 Pg                                        WATT ORATTfilA
 :•       aaop^S'                                                                                      CASH               27AUG18
                                   READY           OPTIONS:  DLR:P21212
13:24 06AgG18              14:20 27ADG18
JJNE OPCODE TECH TYra aoras                       "                                         LIST                NET             TOTAL
A CHRISTMAS STATS WRENCH LIGHT COMBS 'O^ MISFIRE
CAUSE: 6049
     172077D RETRIEVE DTCS AND REPlij^ LONG BLOCK
          ASSE2ffiLY. INCLUDES TIME TO PERFORM ROAD
          TESTS                                                                    • ■< V


                      64i2        W                                                                                              (N/C)
                      8865        W                                                *•
                                                                                                                                 (N/C)
                1 FL3Z*6006*F SERVICE ENGINE ASY                                                                                 (N/C)
                CORE CHARGE W          • - •.vV/c- v V ■ *'
                                                                                                                                 (N/C)
                2 7L1Z*4B496*C BOLT                                                                                              (N/C)
                3 7L12;*^B496*D BOLT                                                                                             (N/C) .            .
                1 *W52aili^3440 NUT                                                                                              (N/C)
                4 *W520li3*S440 NUT                                                                                              (N/C)
                4   *W52O514*S440        NUT - ADJUSTING SCREW                                                                   (N/C)
                1   nff7132ii*S439       BOLT       •......
                                                                                                                                 (N/C)
                1   ♦W714689*S437        NUT
                2   *W71471^*S439        BOLT          v-.. .                                                                   (N/C)
                                                                                                                                (H/C)
                1   *W715211*S439        BOLT
                3   *M716530«Sj4o        NUT AND WASHER ASY -r HEX.                                                          . (N/C)
                                                                                                                                (N/C)
                1   *N808684*S101        BOLT                                                                                   (N/C)
                2 BL3Z*9229»C-RIT - "O" RING                                                                     ••             (N/C)
                6 SP*542* SPARK PLUG                                                                                        . N/C)
              4 *W714870»S430 NUT                                                                                               <N/C)
              2 ♦W716117®S437 BOLT                                                                                              (N/C)
              1 *w716383*s437 Stud               ......
              1 BL32*6C683*A FILTER ASY                                                                                   • •■=(N/c)
                                                                                                                                (N/C)
              1 DS72*19B5'96®A KIT - AIR CONDITIONING SYSTEM                                                                    (N/C)
              2 FL3Z*5C226*A GASKET
              1 FT4Z^6A34b*A BOLT                                                                                               (N/C)
                                                                                                 . 1    •*«
                                                                                                                                (N/C)
              1 |T4Z*9J323*A TUBE ASY
              i FT4Zl'S;j323*B TUBE ASY-:' ’r'--                                                                              . (N/C)
                                                                                                                                (N/C)
      • *..   1 FT4Z*8507*C GASKET - WATER PUMP                                                                                 (N/C)
              i”CT42*l2A648*B SENDER;'ASY’'V '
              1SJ7Z*19B508*A SEALANT                                                                                            (N/C)
                                                                                                                               m/cS
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                           •ePECnON BY                                               LE88NSURANCE
RB>REaBfTAT1V^ OF Rm
                                                                                     SALESTAX
                                                                                        PLBA8EPAY
                                                                                        THB AMOUNT                    •    ;    • •   .. • •. . •

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     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 47 of 104 Page ID #:54


 CUSTOMER #: 169218                                          713265
                                                                                  TOWN AND COUNTRY FORD, INC,
                                                             INVOICE
 JUSTIN FREDERICKSEN
                                                                                                     PHONE: (704) 63M600
                                                                                            ^BSBZUKS
                                                                 PAGE 2                     ttMaza 6aM374
                                                                                            SMSn 8IMI77
 HOME                                                                                           6SM272
                           CO)
 BPS:                      CELL;                         SERVICE ADVISOR: 4547 MinHART. p<CPHRapgnM
    COLOR              ■   "MAKEMOOB.
                                                                           ucseE     MaEAfiEW/OUr                                  TAO
                 16 I PQtm P--15Q                     3J!TEyi^P^F§^33 9                      97F217 _ 45570/45585 rM85
 : ' Da. DATE   PROP. DATE .WARa EXP.         pROAima)                                      RATE    PAnian       —
                                                                                                               WV.DATE
 OSAOGld li
 OSjmGifl nr                               WMT OgAUfllP
                      ••:;;x:^>.TTEApy.                                                               CASH           27APGia
                                            CPT10N8: DI«R:F21212
 13:24 06AnG18       Il4>20 27AnGia
 l^INB OPCODE TECH TYPE HOURS                                                                  LIST
  •         1 PMM^A' fiSKE-CLEANER                                                                            NET          TOTAL
            1 TA*24’*B ADHESIVE                                                                                             (N/C)
           1 YNn2*D          COMPRESSOR - AIR CONDITi ‘   •                                                                (N/C)
           1 Ylf*35* OIL - C(»1PRESS0R - AIR CONDITI                                                                       (N/C)
           1 XL*2^. iLUBRICANT - UNIVERSAL ANTI-^EI X-                                                                     (N/C)
          •1 TA*3S7* SEALANT - SILICONE                                                                                    (N/C)
           1 ZC*30*A ^KB^Vro - SILICONE                                                                                    (N/C)
           X VC»3*B ANTI-FREEZE                                                                                            (N/C)
           10 XO*5W30»EiS^ MDTORCRAFT SAE 5W-30 API GF-5                                                                   (N/C)
           1 FT4Z*6731*A FILTER ASY - OIL                                                                                  (N/C)
           -1 PL3Z*6d06*P-'CORE RETURN                  \                 ;■
                                                                                                                           (N/C)
                                                                                        i
       172077E ADDITICnpgi .TIMB BOR PRIOR APPROVAL                                                                        (N/C)
                                                                               •• • ;
    FC: E29 42                                                                                                             (N/C)
    FART#: 6049       •     .. «
    COUNT:
    CLAIM TYPE;
    AUTBCODE:     TH6E760401
    64X2
PARTS:      0.00 LABOR:          0.00 OTHER:    -0 00    totat ttkti? a.
                                                                                                                           0.00
 45585 ELECTRONIC ENGINE’ DIAGNOSIS, P130D,P0305,P0524; ilON QASlS AND
 CHECK CUSTOIER FURNISHED HISTORY CYL S SPARK PT.nR T^TTjJir, OTL T^t
          TO TSB 17-2077.'RE(NJESi-Approval              tor engine
 X7'2077. PRIOR APPROVAL CODE yHGE760401. REPLACE LONG
 TRANSFER PARTS AS REQDIR^1$ tLKAR DTCS ROAD TOST                                                ■ MPA^
B ^Deferred Maintenahce IntiarvalCustonter Has Been Informed That A
        Maintenance Interval Is Now Due
      DMB   deferred                ' "'
                8865. IPS
PARTS:          Ostjb - l&ABOR:            0.00    other:   "^-'v.-b.bo                                                  (N/C)
                                                                           TOTAL LINE B: ’                                 o.bo •
                                                                          ***********
C ♦Cojapllmentary-Multipoint Inspection                          $49 97 Vain^
___ 99P 27 POINT INSPECTION
ON 8BMP OP 8BMCM0 OEMSl I HFRFflY             STATCUBrrOFDISCL
                                                    loJIindiAM                                 OEacRipnow         •':'••• TtnrA(s*;v:-:

    nc APpeARANCE OP nc vninrr or
qPBaySg.Tiwr AW RMcr Rs>ABeD. or
RBVmp IWDBi Tm CLAM HAD BSt               m                                             LABCW AMOUNT
                                                                                        MRIBAMOtMT
                                                                                        QAaoa.>UJffi
                                                                                        SUBLET AMOIKT
                                                                                        HaXCHMCBES
                                                                                        TOTN. CHARGES
                                                                                        LE88M8URM(CE
                                                                                        SALES TAX
                                                                                        nCASEPAY
                                                                                        THB AMOUNT


                                                  cosTcaffiR copy
     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 48 of 104 Page ID #:55


 CUSTOMER #: 169218                                                     713265
                                                                                        TOWN AND COUNTRY FORD, INC.
                                                                        INVOICE              . 6401 Baat^tdapendenoo BoilewaRt
 JUSTIN FREDERICRSEN                                                                        CHAfOXmE. NORTH CAROUNA 28212
                                                                                                    PHONE: (704) 6384600
                                                                                            PBBmACS
                                                                         PAGE 3           OMOn £384274
                                                                                          6S>42» 6S24Z77
                                                                                              6384273
 UOME:«                   hCONTI
 Bg&i-                     CELLt                                     SERVICE ADVISOR;            Kn-rp^PT. MCPHRay.q(^>
     COIXIR ■ ■:             MAK»IOOEU               ■                    VIN               UCENSE         MajEAQEil/OUr             TAG . "
             16 PQRD P-ISQ                              1FTBW1EP3CTCFS4339                  97P2n
   ^ DATE " PROD. DATE WARR. BO*.:.                                                                 45570/4Sfift?^ rMSS
                                              .'.PROM8B3        PONO                       RATE   PAYMBir       Wy.DATE
 osAJC^ie. IS
 QSAPGia PI                              1   WAIT QRAncia                                              CASH
                              KEADYr--^-"-- OfHoH&    --                                                              27AUGia
                                                      DLR:F21212
13:24 06AUG18 Il4;20 27AnGia
LINE OP^DB TECH TYPE HQDRS                                                                    LIST              NET
 'v--'-”'-"' ■■ 8865^IPS’^r•'•                                                                                             TOTAL
PARTS                                                                                                                      (N/C)
                   0.00    LABOR:            0.00            OTHER:           0.00       TOTAL LINE C-                      0.00
                    •******«^.^<f'4rift^rj(r*#i*rak***** it*** ♦**★***♦♦** *******.jt*^**^^ • *                                            1
D** ENTERPRISE RENTAL            FORD ASSISTING
CAUSE: Alternate Trans^'i^^tion
     LOAN TCF LOANER
            8865   •w •••••• ■••• ••
                                                                                                                            (v/O
    PC: PART#: RENTAL COUNT:
    CLAIM TYFEt   Pll'-
    AUTB CODE:    MSPA879717
 :  8865                         ••• ••
MISC LOANER PROVIDED BY ENTERPRISE
         PO#.713265
                              w                                                                                            (N/C)
PARTS:             0.00    LABOR:
                       • 0;'SO ' OTHER:  0.00   TOTAL LINE D:                                                               0.00
 i5l45l4^6MS9^™*^ ^ CpST^^:. pOTAL. VEHICLE 1I3PA879717 CAS-
                    • ***************ir*if***1r*****it*ir1i1tinnn,*i,**it***1r*1,innn,

EST: 135.52                    06AUG18 13:24                SA: 4547
                                                         *****^|*fr****A************^t*t*^n,i,t,inn,****^t^t^,^n,^t
                                                             • .-THANK YOU FOR YOUR BUSINESS                   ***


                                                    .* ' V ■ . * *



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ON BatALj: OF GBMKBiO DBUSL I Mqvnv            aTAiatBffOpnmwMER                         i^r'-OesCRFnow.:-'--
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Ties OUM MC AVSMABIE FORm VEIR mayTHE                                                     TOTAL CHARGES                     0.00
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                                                                                          SALES TAX                         0.00
                                                                                          PLSASEPAY
                                  OWI   SSSS^x.                                           TNB AMOUNT                      • 0.00

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       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 49 of 104 Page ID #:56


  CnStOMER #: 169218                                                              713265
                                                                                                          TOWN AND COUNTRY FORD, INC.
                                                                               • INVOICE                               6401 East tndependanoft Doutewd
  JUSTIN FBEDERICKSEK                                                                                               CHARUmE. NORTH CAROUNA28212
                                                                                                                            PHONE: (704) SSfrOSB)
                                                                                                                     pgecTUM^
                                                                                        PAGE 1                    6&M27»
                                «                                                                                 63MZ78 B3M277
                                                                                                                      fiSMzn
 HOME:                        9 C0NT:M*MMHR
 BPS:                           CELL:                                    SERVICE ADVISOR: ^
    COLOR S'                                                                                                           JtfICHABL MCPytRARSON
                                  MAKBMOOB.           V • ••••   •                      VIN                        iXEMSE     ^jjEAQElN/Otrr"             TAG

                        16   FORD P-15Q                              lPTRWlRP.‘^fiKPR4:^^Q                         q7F?11         4557Q/45RftS          rM85
     oa. DATE.y pRoa date WARR.EXP.:i                                    y-"T             Po>^                f   i^te    I    PAYMENT          WV.DATEv‘'”V
 05AP616 I:
 QSAPfilB ni                        ________WAIT OSAUfllfl
         R.O.QPBIED                 READY          OrnONS:
                                                                                                                                           27ADG18
                                                                             DLR:F21212
 13:24 Q6APG18 ll4:2Q 27AUG18
 LINE OPCODE TECH TYPE HOURS                                                                                          LIST          NET          TpTAT.
 A CHRISTMAS STATE ?m^CHr53^f^?W*S5^NTilSFIRE
 CAUSE: 6049
          1720170 RETRIEVE DTCS                LONG BLOCK
               . ASSMLY. INCLUDE TI^ TO PERFORM ROAD
            •• • TESTS                    •••' •• • ■■
                   6412  W
                                                                                                                                                    (N/C)
                   8865  w                                                                                                                          (N/C)
        . .. 1 PL3Z*6006*P SERVICE ENGINE ASY                                                                                                       (N/C)
                 OOBS CBhRGB V                            V ^:           •
                2 7L1Z*4B496*C BOLT                                                                                                                 (N/C)
                                                                                                                                                    (N/C)
       ...;,.:.:3..:7LIZ*4B496*D BOLT                                                                                                    .......... (N/C).... .
                1 *W520111*S440 NUT                                                                                                                 (N/C)
               .4 *W520113*S440 NUT                                                                                                                 (N/C)
                4     *W520514*S440         NUT - ADJUSTING SCREW                                                                                   (N/C)
             ' -1     +Wll3244*S439         BOLT ••••••             •
                                                                                                                                                    (N/C)
                1     *W714689*S437         NUT                                                                                                     (N/C)
               2      *W714717»S439         BOLT
               i      ’*'W715211*S439       BOLT                                                                                                    (N/C)
                ^     *W7.16530*S440        NUT AND WASHER ASY :V'HEi(. ••                                                                          (N/C)
                                                                                                                                                    (N/C)
               1      ♦N808684*S101         BOLT
                                                                                                                                                    (N/C)
                •2    ■Bt38*9229*C KIT - "0" RING                                                                                                   :n/c)
                 6    SP*542* SPARK PLUG                                                                                                            :n/c)
        • •■.•.• ■4   *W714870'*S430 NUT                                                      •■.N   ••••.•
                                                                                                                                                     N/C)
            . 2       *W716117»S437 BOLT                                                                                                             N/C)
             • •l     yB»7l8383*S437 STUD                            ■         :• ’ •
                                                                                                                                                     N/C)
                 1    BL3Z*6C683*A FILTER ASY                                                                                                        N/C) ,
        =•1           DS7Z*19B596*A KIT - Aik CONDITIONING SYSTEM                                                                                    N/C)
   • ••          2    FL3Z*5C226*A GASKET                                                                                                            N/C)
                 1    FT4Z*6A340*A BOLT ' •vvv;y:.=.:.'\ • •                                                                                         N/C)
                 1    FT4Z*9J323*A TUBE ASY
                                                                                                                                                     N/C)
                 1    PT4Z*9J323*B ^UBfi XSY^''                                                                                                     N/C)
                1 Fr4Z*8507*C GIMKET     WATER PUMP
                1 FT4Z*12A648Ak-e*Eij6ER ASY                                                                                                        N/C) .
                1 CmZ*19B50S*A SEALANT____________                                                                                                  K/C) .
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       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 50 of 104 Page ID #:57


  CUST0ME31 f: 169218                                              713265
                                                                                         TOWN AND COUNTRY FORD, INC.
                                                                                                      6401 Eflg* hutoputWnMk PfniB I'lWj
                                                                    INVOICE                      CHARLOTTE. NORTH CARQIMA 28212
  JUSTIN FREDSRICRSEM                                                                                 PHONE: pO4)63Oe0OO
                                                                     PAGE 2
                                                                                              DBficnj^a
                                                                                           fiSM278 SaMZM
                                                                                           48Mzn saMzn
                                                                                                                                    mssms^
                                                                                               eman
  HOME                       CONT:
  BUS;                       rRT.T.«                     - , SEfWICE^VISOR: 4547 MICHAEL                                           mcphrars^n
   ':'.->'COLOR   ClSS        MAKBMOOa                                                     •••LweNae                                                   .-.'TAG •••■ •
                   Ifi FORD F~15Q
    :DB^0ATE      PROD. DATE WARR.EXP.                                                                                                                 rM85
  05AUG18 1{
  OSADGlfl nr                                  WAIT 08X061 ft
                                READY           OPT
                                                                                                                         CASH              27AUGia
                                                         DLR:r21212
  13:24 OSAUGlfi          14:20 27^061fl
 Lim^OPCQDE TECH TYra BOUM                                          -------------------
                  1 PM*4*A BR^ GLEA                                  LIST                                                          NET           TOTAL
                                                                                                                                                               TnT
                  1 TA*24*B ADHESIVE
                  1 YN*12*D OIL                                                .     .                                                    ... . (N/C)
                                                                                                                                                : (N/G)
                  1 YN*35* OIL - COMPRESSOR - AIR CONDITI
                  1 XL*2* LUBRICAOT    .UNiv^RSaj.'^'^NTI^'^E^                                        :••                             ............ <N/C)
                  1 TA*357* SEALANT • Slhiccm
                                                                                                                                    •s
                                                                                                                                                ••••(N/C)
                  1 ZC*30*A REMOVE                                                                                                            ....(M/C)
                  1 VC*3*B ANTI-FB<BEZE                                                                                              : ’           (N/G)
                  10 XO*SW30*BSP MOTORCRAFT;         '5W«30                VSE-S                            •i                        •
                                                                                                                                                   (N/C)
                  1 FT4Z*6731*A filter ASY - OIL                                                                                             ' (N/C)
                                                                                                                                                   jN/C)
 ...... .........-1. FL3Z*6006*F CORE •^TORN--:-''‘--:-N:‘ ':-''-- 'v :'••• •
         172077E ADDITIONAL TIME FOR PRIOR APPROVAL
                8865    V          ■ •                                                       •   ••              ■   .   .




        FC: E29 42                                                                                                                              •(N/G)          •
        PART#: 6049
        COUNT:
       CLAIM TYPE:
       AUTH CODE:           THGE760401
       6412




  imcaffW"-
PARTS:             0.00     LABOR:
                                                                                                                                                  0.00
                                                                                                                             AND




B /Deferred Maintenance IntervalCustomer Has Been ihfonned That-A •
        Maintenance Interval Is Now Due
     DMB INFERRED BASIC                                                    ■:




            8865 IPS
PARTS:             0.00     LABOR:       /•••-' 0:00                   •        •'O.OO    ‘^TOTAL LiNE''•                                 ' ’   • ft’ hn
C *CoB5pliiBentary iMuiti^irit'inspection ... a $49.97 Value
     99P 27 POINT INSPRCTTma
 ON aBUtf OP eBMCMS DEM£R. I HEREBY                aTATB»n'OF OBCLAMBt                         DE8CRPT10W                                       TOTALS • - •
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                                                                                           LABOR AMOUNT

FRCM ne MnMMMCE OF TME VBtOS OR
OTgwfee Tmr Mff raat ns^m or
REPUCP UCBt TK8 CLAM HAD OEB*
QOMNOOIGD M MtY WCf MTH AMV ACCUBIT.
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                                                                                           3Aa>oa.ufflE
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NESUG8ICS OR »•«»»» nmutwM ftirmnitife                                                     IBSaCHMOEB
                                                                                           TOTAL CHNtSES
                                                                                           LE8SN8URANCE
                                                                                           8ALB8TAX
                                                                                           PLEASE PAY
                                                                                           TMS AMOUNT

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                                                          FXIiS COPY
    Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 51 of 104 Page ID #:58


 CaSTONBR «: 169218                                                   713265
                                                                                          TOWN AND COUNTRY FORD, INC.
                                                                      INVOICE
 JQSTIN FREDERICKSEN
                                                                                                             PHONE: (704) 53MBG0
                                                                                                     BBecrmgB
                            •i                                          PAGE 3                    oa«n «S^4
                                                                                                  BSWWTb SXUH't
 HOME:                                                                                                8SM273
                            COMT4
 BPS:                       CELL:                              SERVICE ADVISOR! 4547 mCHABL MCPfiSAE^C»4
    COU)R             ••    •••MAKawooaL                            VIN                         l^jCEWSE " -m£mituan^                                TAG
               16 I FORD P~15Q                               lgTBBASP3Pg|54339i                   97P217 l          45570/455^85                frMftfi
   DB.DATE    PROaOATH WARR.EXP.                 PROMISEDI--------- 1-------- PpNO. ■;.■•••;    : -RATE:-.        PATtgWT'••••[>
 05AnG18 li
 05AUG18 Dt                                   WAIT 08AUG18
     RaoPEfep          r.... •; READY          OPTKJN3: DLR:F21212
                                                                                                          ._fiaaa                   27APGie

13:24 06Anmft 14:20 27AnGia
LINE OPCOEE TECH TYPE HOtlRfl                                                                                             -----
                886g-^±pS                  --------------------^                                                                         TOTAL
                                                                                                                              • •        iU/C)
                                                                                                                                          0.00

CAUSE: Alternate Tiranaportatlon
     LOAM TCF LOANER
            9865      w                                                                                                                  (N/C)
    PC: PART#: RENTAL COUNT:
    CLAIM TYPE;'* 'P11
    AUTH CODE:     MSPA879717
    8865       ________ ____                                                               \.        •• vi ;• :
MISC LOANER PROVIDED BY ENTERPRISE
        PO#713265 *
                             W
PARTS:         0.00        IaSOR: ..........'0.00       OTHER:                  0 00   TOTai t               tub?    n.
                               ™                                                   MSPa“?“7                                               0.00


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                                                     ***      THANK YOU FOR YOUR BUSINESS

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       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 52 of 104 Page ID #:59


 CUSTOMER #: 169218                                                         713265
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 JUSTIN FREDERICKSEN                                                                                             charlotte.   MORTH CAROtWA 28212
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     Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 53 of 104 Page ID #:60


CUSTOMER #: 169218                                     713265
                                                                  TOWN AND COUNTRY FORD, INC.
                                                                                6^ East hdependam
                                                       WARRANTY               CHARLOTTE. NORrm CAROUNA 282t2
JUSTIN FREDERICKSEN                                                                PHCME:(m)6aM600

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LI^QPCpDB TECH TYPE HOURS                                                      LIST           NET        TOTAL
A ’^^ISIMAS STATE WRENCH LIGHT C<^S CS? MISFIRE
PIUSE: 6049
     • .'172077D RETRIEVE DTCS AND REPLACE LONG BLOCK
                ASSEMBLY. INCLUDES TIME TO PERFORM ROAD
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                  8865    W 17.00                                                         1795.54 1795.54
                            17.00                                                         1795.54 1795.54
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            CQRS CHARGE W                                                                 1200.00 1200.00
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                                                                            1.50          i;26            i;26 ••
            4 *lf520113*S440 NUT                                            0.76          0.64            2.56
            4 *W52OS14*S440 NUT - ADJUSTING SCREW                           6.00           S-iOtf       ioire
            1 *W713244*S439 BOLT                                        . . 4,50           . 3.78         3.78
            1 *W7i4689*S437 NUT                                         ••i.so              •i;'26      •••I;: 26
       _   2   *W714717*S439 BOLT                                         2.50               2.10
           i   ’•W71-52n^S439 BOLT = '                              • 5
                                                                                                          4.20 •
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           3   *W716530*S440 NUT AND HASHER ASY - HEX.                   ..1-39              1.18         3.54
           1   n9808684*Si01 BOLT ^ '                             ' r- • 6.00                 5.04 . ‘ '5.04
           2   BL3Z*9229*C KIT - "O" RING                               111.49.            103.02    206.04
       •   6   Sp)«^542#i SPARK PLUG ■                            ' •-•Ui02 .             • 10;10 ■: * 61.08
           4   *W714870*$430 NUT                                          2.50
           2   *«l‘71t5ii7*$437 iMLT • •• •                                                  2:10         8.40
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           1   *W716383*S437 STUD                                                                        ’3.84
           1   BL3Z*Sc48i*A FILTEil ASY
                                                                        .     1.03           Qt.87        6.87
                                                                              9.56           7.22    ’••”7i22-
           1   DS72*19B596*A KIT - AIR CONDITIONING SYSTEM                   24,87          22.98      22.98
           2   FL32*5C226*A GASKET                                            9.35           8:64
           1   PT4Z*6A340*A BOLT                                                                       17:28 •• •
                                                                              9.09           9.09         ?.09
           1   FT4Z*9J323*A TUBE ASY                                         19.94          19.94      19i-^4 •
           1   FT4Z*9J323*B TUBE ASY                                         19.79         19.79
           1   FT4Z*8507*C GASKET - WATER PUMP                                                         19.79
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_________ 1 FT4Z*12A648*B S^nigR ASY ______________                         8.64             7.98
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            Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 54 of 104 Page ID #:61

     CaSKttlBR #: 169218                                                   713265
                                                                                            TOWN AND COUNTRY FORD, INC,
                                                                           WARRANTY
     JUSTIN FREDERICKSSN
                                                                                                             PHO^E:(70<)S9M00

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                  1 PM*4*A BRAKE CLEANER                                                                                 ■ '40;‘89'
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                  1 ^A*24*B ADHESIVE              ••                                     •••••:-^V’-^S.-IS
               ^ 1 YK*12*D OIL - COMPRESSOR - AIR CONDITI                                                                ■            - • ’- ^evis
                                                                                                       26.16                 24,18        24.18
                 1 YN*35* OIL - COMPRESSOR                                                           ; S9i20
                 1 XL*2* LUBRICANT - UNIVERSAL ANTI-SEI                                                                      69v’20 i     '69.i2D         •
                                                                                                        3.90                  3.61          3.61
                 1 TA*35.7* SEALANT - SILlCONE'       VV                                            3i6:69
                 1 ZC*30*A REMOVER - SILICONE                                                                                33.90        33.90
                 1 VC*3*B ANTI-FREEZE                                                           "■ as;?6                     iP-?5 .      10.95
                 10 XO*5W30*BSP MOTORCRAPT SAE 5W-30 API GP-5                                                              28.16          28.i6
                                                                                                     3.24                   3.24          32.40
                 1 FT42*6731*A FILTER hSX - OIL '     u.« *.                                                             ■ "B "^O '■       A 60
                 -1 FL32*6006*P CORE MTURN                                                   . ^200; 00^ j2pp;po “-1200:00 .....
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                      6865    W 0.30
            FC: E29 42                                                                                                       31.69      .. 31-P?.
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            COUNT:                                              494793           830311 TPARTS
             CLAIM TYPE:
          '"AUTH CODE:           THGE760401
             6412                                               48440            182723 TLABOR
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        Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 55 of 104 Page ID #:62


 CUSTOMER 4: 169218                                                    713265
                                                                                         TOWN AND COUNTRY FORD, INC,
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 JUSTIN FREDERICRSEN                                                                              CHARLOrn^ NORrm CAROLINA 28212
                                                                                                         PHONE: (704) 6386600

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TECH:            8865 ACTUAL HRS.:                0.00           SOLD BRS.:       0.00
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   1544514 6-06EQS9

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                                                           ***     THANK YOU FOR YOOR BUSINESS                               ***

TECH:           6412 ACTUAL HRS.:                 0.25      • 'SOLD HRS.:            0
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                      ACTUAL HRS.:               21.21        SOLD HRS.:          17.3    .

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08-15-18           07:50        14:56              7.10            W       8865               A
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              Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 56 of 104 Page ID #:63


CDSTOMER 1: 169218                                                                                                          713265
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    Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 57 of 104 Page ID #:64

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                   EXHIBIT G
             Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 58 of 104 Page ID #:65


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    Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 59 of 104 Page ID #:66

        WARRANTY HISTORY                                                                                           Page 1 of 1

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    Case
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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 64 of 104 Page ID #:71




   Case
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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 65 of 104 Page ID #:72




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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 66 of 104 Page ID #:73




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  AS PER CUSTOMER, DEALBt SArS:



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                Ford Confidential                                                                                     Page4of9
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 67 of 104 Page ID #:74




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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 68 of 104 Page ID #:75




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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 70 of 104 Page ID #:77




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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 71 of 104 Page ID #:78




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               Ford Conflderrtlal                                   Page9of9
Electronically FILED by Superior Court of California, County of Los Angeles on 03/14/2019 12:27 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Tang,Deputy Clerk
                  Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 72 of 104 Page ID #:79




                            1     GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
                                  38 Discovery, Suite 200
                            2     Irvine, California 92618
                                  Telephone: (949) 753-0255
                            3     Facsimile: (949) 753-0265
                            4     Attorney: MATTHEW M. PROUDFOOT, SBN: 155988

                            5     Attorney for Defendant FORD MOTOR COMPANY
                            6

                            7

                            8                       SUPERIOR COURT OF CALIFORNIA – COUNTY OF LOS ANGELES
                                                                      CENTRAL DISTRICT
                            9                                      UNLIMITED JURISDICTION
                          10

                          11      JUSTIN FREDERICKSEN, an        )                                      Case No: 19STCV05028
                                  individual and DOES 1-100      )                                      Judge: Susan Bryant-Deason
                          12      inclusive                      )                                      Dept: 52
                                                                 )
                          13                    Plaintiff,       )
                                  vs.                            )
                          14                                     )                                      FORD MOTOR COMPANY’S ANSWER TO
                                  FORD MOTOR COMPANY, a Delaware )                                      COMPLAINT
                          15      Limited Liability Company,     )
                                  FUTURE FORD OF CONCORD, LLC, a )
                          16      California Limited Liability   )
                                  Company and DOES 1-100,        )
                          17      inclusive,                     )
                                                                 )                                      Complaint Filed: February 14, 2019
                          18                     Defendants.     )                                      Trial Date: None
                                                                 )
                          19

                          20                Defendant, FORD MOTOR COMPANY hereby responds to Plaintiff’s
                          21      Complaint herein, as follows.
                          22                                                                GENERAL DENIAL
                          23                1.       Pursuant to California Code of Civil Procedure § 431.30,
                          24      Defendant herein denies each and every allegation in the Complaint
                          25      and further denies that Plaintiff has been damaged in any sum
                          26      whatsoever.
                          27      ///
                          28      ///

                                                                           1
                                  ___________________________________________________________________________________
                                                                 FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 73 of 104 Page ID #:80




    1                             FIRST AFFIRMATIVE DEFENSE
    2                       (Failure To State A Cause Of Action)
    3         2.    Plaintiff’s Complaint, and each cause of action and count
    4   thereof, fails to state sufficient facts to constitute a cause of
    5   action against this answering Defendant.
    6                             SECOND AFFIRMATIVE DEFENSE
    7                             (Disclaimer of Warranties)
    8         3.    Plaintiff’s cause of action for breach of express warranty
    9   and incidental and consequential damages is barred by the express
   10   disclaimers and limitations of liability contained in the alleged
   11   express warranties.
   12                             THIRD AFFIRMATIVE DEFENSE
   13                              (Statute of Limitations)
   14         4.    Any cause of action alleged in the Complaint is barred by
   15   the statutes of limitations contained in the Code of Civil Procedure,
   16   specifically § 337, 338, 338.1, 339, 340, 343, Civil Code § 1783,
   17   Business and Professions Code §17208, and Commercial Code § 2725.
   18                             FOURTH AFFIRMATIVE DEFENSE
   19                           (Failure to Mitigate Damages)
   20         5.    If Plaintiff sustained any damages as alleged in the
   21   Complaint, that damage was proximately caused and contributed to by
   22   Plaintiff in failing to mitigate damages.          Plaintiff’s failure to
   23   mitigate damages diminishes any recovery herein.
   24                             FIFTH AFFIRMATIVE DEFENSE
   25                              (Failure of Performance)
   26         6.    Defendant is informed and believes and based thereon
   27   alleges that any failure to perform the obligations as described in
   28   the Complaint resulted from Plaintiff’s failure to perform as

                                                 2
        ___________________________________________________________________________________
                         FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 74 of 104 Page ID #:81




    1   required by the contract and/or warranty.          Performance on Plaintiff’s
    2   part of his obligations was a condition precedent to the performance
    3   of Defendant’s obligations.
    4                             SIXTH AFFIRMATIVE DEFENSE
    5                              (Alteration of Product)
    6         7.     The vehicle was not defective or in an unmerchantable
    7   condition when it left the possession, custody and control of the
    8   manufacturer.     Any damage to the subject automobile was caused and
    9   created by changes and alterations made to the vehicle, subsequent to
   10   the vehicle's manufacture and/or sale, by persons other than the
   11   manufacturer or any of its agents, servants, or employees, thereby
   12   barring Plaintiff’s recovery herein.
   13                            SEVENTH AFFIRMATIVE DEFENSE
   14              (Failure to State Cause of Action for Civil Penalties)
   15         8.     The Complaint fails to state sufficient facts to warrant
   16   the imposition of civil penalties because it was believed that
   17   replacement or repurchase of the subject vehicle was not appropriate
   18   under the circumstances then known.
   19                             EIGHTH AFFIRMATIVE DEFENSE
   20                                       (Consent)
   21         9.     The repair process to Plaintiff’s vehicle was appropriate
   22   and proper and is believed to have been done with the consent of the
   23   Plaintiff.
   24                             NINTH AFFIRMATIVE DEFENSE
   25                          (Abuse or Failure to Maintain)
   26         10.    The Plaintiff is barred from recovery by virtue of Civil
   27   Code § 1794.3 since the claimed defect or nonconformity was caused by
   28   the unauthorized or unreasonable use of the vehicle following sale.

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        ___________________________________________________________________________________
                          FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 75 of 104 Page ID #:82




    1                             TENTH AFFIRMATIVE DEFENSE
    2                    (Civil Code § 1791.1(c)-Implied Warranty)
    3         11.    Each and every cause of action based upon breach of implied
    4   warranty is barred by virtue of Civil Code § 1791.1(c).
    5                           ELEVENTH AFFIRMATIVE DEFENSE
    6               (Failure to Provide Reasonable Opportunity to Repair)
    7         12.    Plaintiff is precluded from any recovery pursuant to the
    8   Song-Beverly Consumer Warranty Act as Plaintiff failed and refused to
    9   provide a reasonable opportunity to repair.
   10                            TWELFTH AFFIRMATIVE DEFENSE
   11                (Qualified Third Party Dispute Resolution Process)
   12         13.    Defendant maintains a third party dispute resolution
   13   process which substantially complies with Civil Code § 1793.22.
   14   Defendant is informed and believes, and based thereon alleges, that
   15   Plaintiff received timely and appropriate notice of the availability
   16   of the process.     Plaintiff is therefore barred from asserting the
   17   presumptions set forth in Civil Code § 1793.22 and from recovering
   18   civil penalties pursuant to Civil Code § 1794(e).
   19                          THIRTEENTH AFFIRMATIVE DEFENSE
   20                            (Failure to Provide Notice)
   21         14.    Defendant is informed and believes, and based thereon
   22   alleges, that Plaintiff failed to provide notice to this answering
   23   Defendant pursuant to Civil Code § 1794(e)(3).           Plaintiff is
   24   therefore barred from asserting the presumptions set forth in Civil
   25   Code § 1793.22 and from recovering civil penalties pursuant to Civil
   26   Code § 1794(e).
   27   ///
   28   ///

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        ___________________________________________________________________________________
                          FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 76 of 104 Page ID #:83




    1                          FOURTEENTH AFFIRMATIVE DEFENSE
    2                                    (Due Process)
    3         15.   The civil penalty provisions of Civil Code § 1794(c) and
    4   (e) violate the Due Process clause of the United States Constitution
    5   and the California Constitution.
    6                           FIFTEENTH AFFIRMATIVE DEFENSE
    7                             (Revocation Not Effective)
    8         16.   Any purported revocation of acceptance was not made
    9   within a reasonable time nor before a substantial change in the
   10   condition of the vehicle which was not caused by any alleged defects.
   11                           SIXTEENTH AFFIRMATIVE DEFENSE
   12                              (Out of State Purchase)
   13         17. The provisions of the Song-Beverly Consumer Warranty Act do
   14   not apply to the vehicle if it was purchased outside the State of
   15   California.
   16                          SEVENTEENTH AFFIRMATIVE DEFENSE
   17                                    (Used Vehicle)
   18         18.   If Plaintiff’s vehicle was used at the time of Plaintiff’s
   19   purchase the implied warranties provided in the Song-Beverly Consumer
   20   Warranty Act do not arise as to this answering Defendant.
   21                          EIGHTEENTH AFFIRMATIVE DEFENSE
   22                                      (Estoppel)
   23         19.   Defendant is informed and believes and based thereon
   24   alleges that the Plaintiff has engaged in conduct and activity
   25   sufficient to estop him from asserting all or any part of their
   26   deceit-based claim set forth in Plaintiff’s Complaint.
   27   ///
   28   ///

                                                 5
        ___________________________________________________________________________________
                         FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 77 of 104 Page ID #:84




    1                          NINETEENTH AFFIRMATIVE DEFENSE
    2                                   (Unclean Hands)
    3         20.   Defendant is informed and believes and based thereon
    4   alleges that the deceit-based claim and relief sought by Plaintiff
    5   are barred by reason of the doctrine of unclean hands.
    6                           TWENTIETH AFFIRMATIVE DEFENSE
    7                                       (Waiver)
    8         21.   Defendant is informed and believes and based thereon
    9   alleges that the Plaintiff has engaged in conduct and activities
   10   sufficient to constitute a waiver of any alleged deceitful conduct as
   11   set forth in the Complaint.
   12                         TWENTY-FIRST AFFIRMATIVE DEFENSE
   13                                       (Laches)
   14         22.   Defendant is informed and believes and based thereon
   15   alleges that the Plaintiff waited an unreasonable period of time to
   16   complain of the alleged deceitful acts or omissions at issue in the
   17   Complaint so as to prejudice this answering Defendant.             Plaintiff is
   18   therefore guilty of laches and barred from recovery.
   19                        TWENTY-SECOND AFFIRMATIVE DEFENSE
   20                   (Contributory Negligence of Third Parties)
   21         23.   If Plaintiff sustained any damages as alleged in the
   22   Complaint, that damage was proximately caused and contributed to by
   23   persons and/or parties other than this answering Defendant by a
   24   failure to conduct themselves in a manner ordinarily expected of
   25   reasonably prudent persons in the conduct of their affairs and
   26   business.    Contributory negligence and fault of persons and/or
   27   parties other than this answering Defendant diminishes any recovery
   28   from this answering Defendant.

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                         FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 78 of 104 Page ID #:85




    1                         TWENTY-THIRD AFFIRMATIVE DEFENSE
    2                 (Failure to State a Cause of Action for Fraud)
    3         24.    The Complaint fails to make sufficiently specific factual
    4   allegations to adequately state a cause of action for fraud.
    5                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
    6                 (Failure to State a Claim for Punitive Damages)
    7         25.    The Complaint fails to make sufficiently specific factual
    8   allegations to adequately recover punitive damages.
    9                         TWENTY-FIFTH AFFIRMATIVE DEFENSE
   10                        (No Representations or Omissions)
   11         26.    To be actionable any omission of fact must be contrary to a
   12   representation actually made by the defendant, or it must be an
   13   omission of fact that the defendant was obliged to disclose.              In this
   14   instance answering Defendant made no representations or omissions in
   15   regard to Plaintiff’s vehicle to Plaintiff.
   16                         TWENTY-SIXTH AFFIRMATIVE DEFENSE
   17               (Acts Not Unfair, Unlawful, Fraudulent or Deceptive)
   18         27.    As a separate and distinct affirmative defense, Defendant
   19   alleges that their business actions or practices were not unfair,
   20   unlawful, fraudulent or deceptive within the meaning of California
   21   Business and Professions Code § 17200, et seq.
   22

   23                                         PRAYER
   24         WHEREFORE, Defendant FORD MOTOR COMPANY prays as follows:
   25         1.     That Plaintiff takes nothing by way of his Complaint on
   26   file herein;
   27         2.     That judgment be entered in favor of Defendant for attorney
   28   fees and costs of suit; and,

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        ___________________________________________________________________________________
                          FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 79 of 104 Page ID #:86




    1         3.     For such other and further relief as the Court may deem
    2   just and proper.
    3

    4   Dated:     March 14, 2019           GATES, GONTER, GUY,
                                            PROUDFOOT & MUENCH, LLP
    5

    6                                       By: ___________________________________
                                                 MARCIA M. LACOUR
    7                                            MATTHEW M. PROUDFOOT
                                            Attorneys for Defendant FORD MOTOR
    8                                       COMPANY
    9

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                         FORD MOTOR COMPANY’S ANSWER TO COMPLAINT
           Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 80 of 104 Page ID #:87




                            1                            PROOF OF SERVICE - 1013(a) C.C.P.

                            2   STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3         I am employed in the County of Orange, State of California. I am over the
                                age of 18 and not a party to the within action; my business address is Gates,
                            4   Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                CA 92618.
                            5
                                     On March 14, 2019, I served the foregoing document described as FORD
                            6   MOTOR COMPANY’S ANSWER TO COMPLAINT on the interested parties in this action
                                as set forth on the attached service list in the following manner:
                            7
                                (XXX)            BY MAIL. I am familiar with this firm's practice of collection
                            8                    and processing correspondence for mailing with the United States
                                                 Postal Service, and that the correspondence shall be deposited
                            9                    with the United States Postal Service on the same day in the
                                                 ordinary course of business pursuant to Code of Civil Procedure
                           10                    §1013a. I am aware that on a motion of party served, service is
                                                 presumed invalid if postal cancellation date or postage meter
                           11                    date is more than one day after date of deposit for mailing
                                                 affidavit.
                           12
                                (   )            BY FACSIMILE. In addition to service by mail as set forth above,
                           13                    a copy of said document(s) was also delivered by facsimile
PROUDFOOT & MUENCH LLP
 38 DISCOVERY, SUITE 200




                                                 transmission to the addressee(s) pursuant to Code of Civil
  GATES, GONTER, GUY,




                           14
    IRVINE, CA 92618




                                                 Procedure §1013(e).
      (949) 753-0255




                           15   (       )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                                                 be hand-delivered to the addressee(s) via a California registered
                           16                    process server pursuant to Code of Civil Procedure §1011.

                           17   (       )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                                                 box or other facility regularly maintained by the express service
                           18                    carrier providing overnight delivery pursuant to Code of Civil
                                                 Procedure §1013(c).
                           19
                                (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                           20
                                                 electronically to _______________________ pursuant to Civil
                           21                    Procedure §1010.6(a)

                           22         I declare under penalty of perjury under the laws of the State of California
                                that the foregoing is true and correct and that this declaration was executed on
                           23   March 14, 2019, at Irvine, California.

                           24
                                                                    ________________________________
                           25                                       Heidi Dufour
                                ***********************************************************************************
                           26                                       SERVICE LIST
                                ATTORNEY FOR PLAINTIFF
                           27   Natan Davoodi, Esq.
                                The Law Offices of Natan Davoodi, Esq.
                           28   3580 Wilshire Blvd., Suite 1260
                                Los Angeles, CA 90010.
                                Tel: 310-889-4554
                                Fax: 213-382-4083

                                                                         1

                                                                 PROOF OF SERVICE
Electronically FILED by Superior Court of California, County of Los Angeles on 03/14/2019 12:27 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Tang,Deputy Clerk
                  Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 81 of 104 Page ID #:88




                            1     GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
                                  38 Discovery, Suite 200
                            2     Irvine, California 92618
                                  Telephone: (949) 753-0255
                            3     Facsimile: (949) 753-0265
                            4     Attorney: MATTHEW M. PROUDFOOT, SBN: 155988

                            5     Attorney for Defendant FORD MOTOR COMPANY
                            6

                            7

                            8                       SUPERIOR COURT OF CALIFORNIA – COUNTY OF LOS ANGELES
                                                                      CENTRAL DISTRICT
                            9                                      UNLIMITED JURISDICTION
                          10

                          11      JUSTIN FREDERICKSEN, an        )                                      Case No: 19STCV05028
                                  individual and DOES 1-100      )                                      Judge: Susan Bryant-Deason
                          12      inclusive                      )                                      Dept: 52
                                                                 )
                          13                    Plaintiff,       )
                                  vs.                            )
                          14                                     )                                      FORD MOTOR COMPANY’S DEMAND FOR
                                  FORD MOTOR COMPANY, a Delaware )                                      JURY TRIAL
                          15      Limited Liability Company,     )
                                  FUTURE FORD OF CONCORD, LLC, a )
                          16      California Limited Liability   )
                                  Company and DOES 1-100,        )
                          17      inclusive,                     )                                      Complaint Filed: February 14, 2019
                                                                 )                                      Trial Date: None
                          18                     Defendants.     )
                                                                 )
                          19

                          20                TO THE PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                          21                PLEASE TAKE NOTICE that Defendant FORD MOTOR COMPANY, hereby
                          22      demands a trial by jury in the above-entitled matter.
                          23

                          24      Dated:          March 14, 2019                                 GATES, GONTER, GUY,
                                                                                                 PROUDFOOT & MUENCH, LLP
                          25

                          26                                                                     By: ___________________________________
                                                                                                      MARCIA M. LACOUR
                          27                                                                          MATTHEW M. PROUDFOOT
                                                                                                 Attorneys for Defendant FORD MOTOR
                          28
                                                                                                 COMPANY

                                                                           1
                                  ___________________________________________________________________________________
                                                              FORD MOTOR COMPANY’S DEMAND FOR JURY TRIAL
           Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 82 of 104 Page ID #:89




                            1                            PROOF OF SERVICE - 1013(a) C.C.P.

                            2   STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3         I am employed in the County of Orange, State of California. I am over the
                                age of 18 and not a party to the within action; my business address is Gates,
                            4   Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                CA 92618.
                            5
                                     On March 14, 2019, I served the foregoing document described as FORD
                            6   MOTOR COMPANY’S DEMAND FOR JURY TRIAL on the interested parties in this
                                action as set forth on the attached service list in the following manner:
                            7
                                (XXX)            BY MAIL. I am familiar with this firm's practice of collection
                            8                    and processing correspondence for mailing with the United States
                                                 Postal Service, and that the correspondence shall be deposited
                            9                    with the United States Postal Service on the same day in the
                                                 ordinary course of business pursuant to Code of Civil Procedure
                           10                    §1013a. I am aware that on a motion of party served, service is
                                                 presumed invalid if postal cancellation date or postage meter
                           11                    date is more than one day after date of deposit for mailing
                                                 affidavit.
                           12
                                (   )            BY FACSIMILE. In addition to service by mail as set forth above,
                           13                    a copy of said document(s) was also delivered by facsimile
PROUDFOOT & MUENCH LLP
 38 DISCOVERY, SUITE 200




                                                 transmission to the addressee(s) pursuant to Code of Civil
  GATES, GONTER, GUY,




                           14
    IRVINE, CA 92618




                                                 Procedure §1013(e).
      (949) 753-0255




                           15   (       )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                                                 be hand-delivered to the addressee(s) via a California registered
                           16                    process server pursuant to Code of Civil Procedure §1011.

                           17   (       )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                                                 box or other facility regularly maintained by the express service
                           18                    carrier providing overnight delivery pursuant to Code of Civil
                                                 Procedure §1013(c).
                           19
                                (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                           20
                                                 electronically to _______________________ pursuant to Civil
                           21                    Procedure §1010.6(a)

                           22         I declare under penalty of perjury under the laws of the State of California
                                that the foregoing is true and correct and that this declaration was executed on
                           23   March 14, 2019, at Irvine, California.

                           24
                                                                    ________________________________
                           25                                       Heidi Dufour
                                ***********************************************************************************
                           26                                       SERVICE LIST
                                ATTORNEY FOR PLAINTIFF
                           27   Natan Davoodi, Esq.
                                The Law Offices of Natan Davoodi, Esq.
                           28   3580 Wilshire Blvd., Suite 1260
                                Los Angeles, CA 90010.
                                Tel: 310-889-4554
                                Fax: 213-382-4083

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                                                                 PROOF OF SERVICE
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 83 of 104 Page ID #:90




  1   GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
      38 Discovery, Suite 200
  2   Irvine, California 92618
      Telephone: (949) 753-0255
  3   Facsimile: (949) 753-0265
  4   Attorney: MATTHEW M. PROUDFOOT, SBN: 155988

  5   Attorney for Defendants FORD MOTOR COMPANY and FUTURE FORD OF
      CONCORD, LLC
  6

  7

  8              SUPERIOR COURT OF CALIFORNIA – COUNTY OF LOS ANGELES
                                   CENTRAL DISTRICT
  9                             UNLIMITED JURISDICTION
 10

 11   JUSTIN FREDERICKSEN, an        )              Case No: 19STCV05028
      individual and DOES 1-100      )              Judge: Susan Bryant-Deason
 12   inclusive                      )              Dept: 52
                                     )
 13                 Plaintiff,       )
      vs.                            )
 14                                  )              FUTURE FORD OF CONCORD, LLC’S
      FORD MOTOR COMPANY, a Delaware )              ANSWER TO COMPLAINT
 15   Limited Liability Company,     )
      FUTURE FORD OF CONCORD, LLC, a )
 16   California Limited Liability   )
      Company and DOES 1-100,        )
 17   inclusive,                     )
                                     )              Complaint Filed: February 14, 2019
 18                  Defendants.     )              Trial Date: None
                                     )
 19

 20         Defendant, FUTURE FORD OF CONCORD, LLC hereby responds to
 21   Plaintiff’s Complaint herein, as follows.
 22                                       GENERAL DENIAL
 23         1.    Pursuant to California Code of Civil Procedure § 431.30,
 24   Defendant herein denies each and every allegation in the Complaint
 25   and further denies that Plaintiff has been damaged in any sum
 26   whatsoever.
 27   ///
 28   ///

                                               1
      ___________________________________________________________________________________
                   FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 84 of 104 Page ID #:91




  1                             FIRST AFFIRMATIVE DEFENSE
  2                       (Failure To State A Cause Of Action)
  3         2.    Plaintiff’s Complaint, and each cause of action and count
  4   thereof, fails to state sufficient facts to constitute a cause of
  5   action against this answering Defendant.
  6                             SECOND AFFIRMATIVE DEFENSE
  7                             (Disclaimer of Warranties)
  8         3.    Plaintiff’s cause of action for breach of express warranty
  9   and incidental and consequential damages is barred by the express
 10   disclaimers and limitations of liability contained in the alleged
 11   express warranties.
 12                             THIRD AFFIRMATIVE DEFENSE
 13                              (Statute of Limitations)
 14         4.    Any cause of action alleged in the Complaint is barred by
 15   the statutes of limitations contained in the Code of Civil Procedure,
 16   specifically § 337, 338, 338.1, 339, 340, 343, Civil Code § 1783,
 17   Business and Professions Code §17208, and Commercial Code § 2725.
 18                             FOURTH AFFIRMATIVE DEFENSE
 19                           (Failure to Mitigate Damages)
 20         5.    If Plaintiff sustained any damages as alleged in the
 21   Complaint, that damage was proximately caused and contributed to by
 22   Plaintiff in failing to mitigate damages.          Plaintiff’s failure to
 23   mitigate damages diminishes any recovery herein.
 24                             FIFTH AFFIRMATIVE DEFENSE
 25                              (Failure of Performance)
 26         6.    Defendant is informed and believes and based thereon
 27   alleges that any failure to perform the obligations as described in
 28   the Complaint resulted from Plaintiff’s failure to perform as

                                               2
      ___________________________________________________________________________________
                  FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 85 of 104 Page ID #:92




  1   required by the contract and/or warranty.          Performance on Plaintiff’s
  2   part of his obligations was a condition precedent to the performance
  3   of Defendant’s obligations.
  4                             SIXTH AFFIRMATIVE DEFENSE
  5                              (Alteration of Product)
  6         7.     The vehicle was not defective or in an unmerchantable
  7   condition when it left the possession, custody and control of the
  8   manufacturer.     Any damage to the subject automobile was caused and
  9   created by changes and alterations made to the vehicle, subsequent to
 10   the vehicle's manufacture and/or sale, by persons other than the
 11   manufacturer or any of its agents, servants, or employees, thereby
 12   barring Plaintiff’s recovery herein.
 13                            SEVENTH AFFIRMATIVE DEFENSE
 14              (Failure to State Cause of Action for Civil Penalties)
 15         8.     The Complaint fails to state sufficient facts to warrant
 16   the imposition of civil penalties because it was believed that
 17   replacement or repurchase of the subject vehicle was not appropriate
 18   under the circumstances then known.
 19                             EIGHTH AFFIRMATIVE DEFENSE
 20                                       (Consent)
 21         9.     The repair process to Plaintiff’s vehicle was appropriate
 22   and proper and is believed to have been done with the consent of the
 23   Plaintiff.
 24                             NINTH AFFIRMATIVE DEFENSE
 25                          (Abuse or Failure to Maintain)
 26         10.    The Plaintiff is barred from recovery by virtue of Civil
 27   Code § 1794.3 since the claimed defect or nonconformity was caused by
 28   the unauthorized or unreasonable use of the vehicle following sale.

                                               3
      ___________________________________________________________________________________
                   FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 86 of 104 Page ID #:93




  1                             TENTH AFFIRMATIVE DEFENSE
  2                    (Civil Code § 1791.1(c)-Implied Warranty)
  3         11.    Each and every cause of action based upon breach of implied
  4   warranty is barred by virtue of Civil Code § 1791.1(c).
  5                           ELEVENTH AFFIRMATIVE DEFENSE
  6               (Failure to Provide Reasonable Opportunity to Repair)
  7         12.    Plaintiff is precluded from any recovery pursuant to the
  8   Song-Beverly Consumer Warranty Act as Plaintiff failed and refused to
  9   provide a reasonable opportunity to repair.
 10                            TWELFTH AFFIRMATIVE DEFENSE
 11                (Qualified Third Party Dispute Resolution Process)
 12         13.    Defendant maintains a third party dispute resolution
 13   process which substantially complies with Civil Code § 1793.22.
 14   Defendant is informed and believes, and based thereon alleges, that
 15   Plaintiff received timely and appropriate notice of the availability
 16   of the process.     Plaintiff is therefore barred from asserting the
 17   presumptions set forth in Civil Code § 1793.22 and from recovering
 18   civil penalties pursuant to Civil Code § 1794(e).
 19                          THIRTEENTH AFFIRMATIVE DEFENSE
 20                            (Failure to Provide Notice)
 21         14.    Defendant is informed and believes, and based thereon
 22   alleges, that Plaintiff failed to provide notice to this answering
 23   Defendant pursuant to Civil Code § 1794(e)(3).           Plaintiff is
 24   therefore barred from asserting the presumptions set forth in Civil
 25   Code § 1793.22 and from recovering civil penalties pursuant to Civil
 26   Code § 1794(e).
 27   ///
 28   ///

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                    FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 87 of 104 Page ID #:94




  1                          FOURTEENTH AFFIRMATIVE DEFENSE
  2                                    (Due Process)
  3         15.   The civil penalty provisions of Civil Code § 1794(c) and
  4   (e) violate the Due Process clause of the United States Constitution
  5   and the California Constitution.
  6                           FIFTEENTH AFFIRMATIVE DEFENSE
  7                             (Revocation Not Effective)
  8         16.   Any purported revocation of acceptance was not made
  9   within a reasonable time nor before a substantial change in the
 10   condition of the vehicle which was not caused by any alleged defects.
 11                           SIXTEENTH AFFIRMATIVE DEFENSE
 12                              (Out of State Purchase)
 13         17. The provisions of the Song-Beverly Consumer Warranty Act do
 14   not apply to the vehicle if it was purchased outside the State of
 15   California.
 16                          SEVENTEENTH AFFIRMATIVE DEFENSE
 17                                    (Used Vehicle)
 18         18.   If Plaintiff’s vehicle was used at the time of Plaintiff’s
 19   purchase the implied warranties provided in the Song-Beverly Consumer
 20   Warranty Act do not arise as to this answering Defendant.
 21                          EIGHTEENTH AFFIRMATIVE DEFENSE
 22                                      (Estoppel)
 23         19.   Defendant is informed and believes and based thereon
 24   alleges that the Plaintiff has engaged in conduct and activity
 25   sufficient to estop him from asserting all or any part of their
 26   deceit-based claim set forth in Plaintiff’s Complaint.
 27   ///
 28   ///

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      ___________________________________________________________________________________
                  FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 88 of 104 Page ID #:95




  1                          NINETEENTH AFFIRMATIVE DEFENSE
  2                                   (Unclean Hands)
  3         20.   Defendant is informed and believes and based thereon
  4   alleges that the deceit-based claim and relief sought by Plaintiff
  5   are barred by reason of the doctrine of unclean hands.
  6                           TWENTIETH AFFIRMATIVE DEFENSE
  7                                       (Waiver)
  8         21.   Defendant is informed and believes and based thereon
  9   alleges that the Plaintiff has engaged in conduct and activities
 10   sufficient to constitute a waiver of any alleged deceitful conduct as
 11   set forth in the Complaint.
 12                         TWENTY-FIRST AFFIRMATIVE DEFENSE
 13                                       (Laches)
 14         22.   Defendant is informed and believes and based thereon
 15   alleges that the Plaintiff waited an unreasonable period of time to
 16   complain of the alleged deceitful acts or omissions at issue in the
 17   Complaint so as to prejudice this answering Defendant.             Plaintiff is
 18   therefore guilty of laches and barred from recovery.
 19                        TWENTY-SECOND AFFIRMATIVE DEFENSE
 20                   (Contributory Negligence of Third Parties)
 21         23.   If Plaintiff sustained any damages as alleged in the
 22   Complaint, that damage was proximately caused and contributed to by
 23   persons and/or parties other than this answering Defendant by a
 24   failure to conduct themselves in a manner ordinarily expected of
 25   reasonably prudent persons in the conduct of their affairs and
 26   business.    Contributory negligence and fault of persons and/or
 27   parties other than this answering Defendant diminishes any recovery
 28   from this answering Defendant.

                                               6
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                  FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
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  1                         TWENTY-THIRD AFFIRMATIVE DEFENSE
  2                 (Failure to State a Cause of Action for Fraud)
  3         24.    The Complaint fails to make sufficiently specific factual
  4   allegations to adequately state a cause of action for fraud.
  5                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
  6                 (Failure to State a Claim for Punitive Damages)
  7         25.    The Complaint fails to make sufficiently specific factual
  8   allegations to adequately recover punitive damages.
  9                         TWENTY-FIFTH AFFIRMATIVE DEFENSE
 10                        (No Representations or Omissions)
 11         26.    To be actionable any omission of fact must be contrary to a
 12   representation actually made by the defendant, or it must be an
 13   omission of fact that the defendant was obliged to disclose.              In this
 14   instance answering Defendant made no representations or omissions in
 15   regard to Plaintiff’s vehicle to Plaintiff.
 16                         TWENTY-SIXTH AFFIRMATIVE DEFENSE
 17               (Acts Not Unfair, Unlawful, Fraudulent or Deceptive)
 18         27.    As a separate and distinct affirmative defense, Defendant
 19   alleges that their business actions or practices were not unfair,
 20   unlawful, fraudulent or deceptive within the meaning of California
 21   Business and Professions Code § 17200, et seq.
 22

 23                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 24                                    (Arbitration)
 25         28.    Defendants allege that Plaintiff's sole and exclusive
 26   remedy under the terms of the sales agreement is or should be
 27   arbitration.     Furthermore, each answering Defendant is informed and
 28   believes and thereon alleges that each Plaintiff is barred from

                                               7
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                   FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 90 of 104 Page ID #:97




  1   recovery in this action since each Plaintiff failed and/or refused to
  2   arbitrate any disputes he/she/it now allegedly has with each
  3   answering Defendant. The Arbitration Agreement is part of the Retail
  4   Installment Sales Contract, a copy of which is in the possession of
  5   Plaintiff.
  6

  7                                         PRAYER
  8         WHEREFORE, Defendant FUTURE FORD OF CONCORD, LLC prays as
  9   follows:
 10         1.     That Plaintiff takes nothing by way of his Complaint on
 11   file herein;
 12         2.     That judgment be entered in favor of Defendant for attorney
 13   fees and costs of suit; and,
 14         3.     For such other and further relief as the Court may deem
 15   just and proper.
 16

 17   Dated:     March 22, 2019           GATES, GONTER, GUY,
                                          PROUDFOOT & MUENCH, LLP
 18

 19                                       By: ___________________________________
                                               MARCIA M. LACOUR
 20                                            MATTHEW M. PROUDFOOT
                                          Attorneys for Defendants FORD MOTOR
 21                                       COMPANY and FUTURE FORD OF CONCORD, LLC
 22

 23

 24

 25

 26

 27

 28


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      ___________________________________________________________________________________
                   FUTURE FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT
                       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 91 of 104 Page ID #:98




                            1                            PROOF OF SERVICE - 1013(a) C.C.P.

                            2   STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3         I am employed in the County of Orange, State of California. I am over the
                                age of 18 and not a party to the within action; my business address is Gates,
                            4   Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                CA 92618.
                            5
                                     On March 22, 2019, I served the foregoing document described as FUTURE
                            6   FORD OF CONCORD, LLC’S ANSWER TO COMPLAINT on the interested parties in
                                this action as set forth on the attached service list in the following manner:
                            7
                                (XXX)            BY MAIL. I am familiar with this firm's practice of collection
                            8                    and processing correspondence for mailing with the United States
                                                 Postal Service, and that the correspondence shall be deposited
                            9                    with the United States Postal Service on the same day in the
                                                 ordinary course of business pursuant to Code of Civil Procedure
                           10                    §1013a. I am aware that on a motion of party served, service is
                                                 presumed invalid if postal cancellation date or postage meter
                           11                    date is more than one day after date of deposit for mailing
                                                 affidavit.
                           12
                                (   )            BY FACSIMILE. In addition to service by mail as set forth above,
                           13                    a copy of said document(s) was also delivered by facsimile
PROUDFOOT & MUENCH LLP
 38 DISCOVERY, SUITE 200




                                                 transmission to the addressee(s) pursuant to Code of Civil
  GATES, GONTER, GUY,




                           14
    IRVINE, CA 92618




                                                 Procedure §1013(e).
      (949) 753-0255




                           15   (       )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                                                 be hand-delivered to the addressee(s) via a California registered
                           16                    process server pursuant to Code of Civil Procedure §1011.

                           17   (       )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                                                 box or other facility regularly maintained by the express service
                           18                    carrier providing overnight delivery pursuant to Code of Civil
                                                 Procedure §1013(c).
                           19
                                (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                           20
                                                 electronically to _______________________ pursuant to Civil
                           21                    Procedure §1010.6(a)

                           22         I declare under penalty of perjury under the laws of the State of California
                                that the foregoing is true and correct and that this declaration was executed on
                           23   March 22, 2019, at Irvine, California.

                           24
                                                                    ________________________________
                           25                                       Heidi Dufour
                                ***********************************************************************************
                           26                                       SERVICE LIST
                                ATTORNEY FOR PLAINTIFF
                           27   Natan Davoodi, Esq.
                                The Law Offices of Natan Davoodi, Esq.
                           28   3580 Wilshire Blvd., Suite 1260
                                Los Angeles, CA 90010.
                                Tel: 310-889-4554
                                Fax: 213-382-4083

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                                                                 PROOF OF SERVICE
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 92 of 104 Page ID #:99




  1   GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
      38 Discovery, Suite 200
  2   Irvine, California 92618
      Telephone: (949) 753-0255
  3   Facsimile: (949) 753-0265
  4   Attorney: MATTHEW M. PROUDFOOT, SBN: 155988

  5   Attorney for Defendant FORD MOTOR COMPANY
  6

  7

  8              SUPERIOR COURT OF CALIFORNIA – COUNTY OF LOS ANGELES
                                   CENTRAL DISTRICT
  9                             UNLIMITED JURISDICTION
 10

 11   JUSTIN FREDERICKSEN, an        )              Case No: 19STCV05028
      individual and DOES 1-100      )              Judge: Susan Bryant-Deason
 12   inclusive                      )              Dept: 52
                                     )
 13                 Plaintiff,       )
      vs.                            )
 14                                  )              FUTURE FORD OF CONCORD, LLC’S
      FORD MOTOR COMPANY, a Delaware )              DEMAND FOR JURY TRIAL
 15   Limited Liability Company,     )
      FUTURE FORD OF CONCORD, LLC, a )
 16   California Limited Liability   )
      Company and DOES 1-100,        )
 17   inclusive,                     )              Complaint Filed: February 14, 2019
                                     )              Trial Date: None
 18                  Defendants.     )
                                     )
 19

 20         TO THE PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 21         PLEASE TAKE NOTICE that Defendant FUTURE FORD OF CONCORD, LLC,
 22   hereby demands a trial by jury in the above-entitled matter.
 23

 24   Dated:    March 22, 2019               GATES, GONTER, GUY,
                                             PROUDFOOT & MUENCH, LLP
 25

 26                                          By: ___________________________________
                                                  MARCIA M. LACOUR
 27                                               MATTHEW M. PROUDFOOT
                                             Attorneys for Defendant FORD MOTOR
 28
                                             COMPANY

                                               1
      ___________________________________________________________________________________
                  FUTURE FORD OF CONCORD, LLC’S DEMAND FOR JURY TRIAL
                    Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 93 of 104 Page ID #:100




                            1                            PROOF OF SERVICE - 1013(a) C.C.P.

                            2   STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3         I am employed in the County of Orange, State of California. I am over the
                                age of 18 and not a party to the within action; my business address is Gates,
                            4   Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                CA 92618.
                            5
                                     On March 22, 2019, I served the foregoing document described as FUTURE
                            6   FORD OF CONCORD, LLC’S DEMAND FOR JURY TRIAL on the interested parties in
                                this action as set forth on the attached service list in the following manner:
                            7
                                (XXX)            BY MAIL. I am familiar with this firm's practice of collection
                            8                    and processing correspondence for mailing with the United States
                                                 Postal Service, and that the correspondence shall be deposited
                            9                    with the United States Postal Service on the same day in the
                                                 ordinary course of business pursuant to Code of Civil Procedure
                           10                    §1013a. I am aware that on a motion of party served, service is
                                                 presumed invalid if postal cancellation date or postage meter
                           11                    date is more than one day after date of deposit for mailing
                                                 affidavit.
                           12
                                (   )            BY FACSIMILE. In addition to service by mail as set forth above,
                           13                    a copy of said document(s) was also delivered by facsimile
PROUDFOOT & MUENCH LLP
 38 DISCOVERY, SUITE 200




                                                 transmission to the addressee(s) pursuant to Code of Civil
  GATES, GONTER, GUY,




                           14
    IRVINE, CA 92618




                                                 Procedure §1013(e).
      (949) 753-0255




                           15   (       )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                                                 be hand-delivered to the addressee(s) via a California registered
                           16                    process server pursuant to Code of Civil Procedure §1011.

                           17   (       )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                                                 box or other facility regularly maintained by the express service
                           18                    carrier providing overnight delivery pursuant to Code of Civil
                                                 Procedure §1013(c).
                           19
                                (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                           20
                                                 electronically to _______________________ pursuant to Civil
                           21                    Procedure §1010.6(a)

                           22         I declare under penalty of perjury under the laws of the State of California
                                that the foregoing is true and correct and that this declaration was executed on
                           23   March 22, 2019, at Irvine, California.

                           24
                                                                    ________________________________
                           25                                       Heidi Dufour
                                ***********************************************************************************
                           26                                       SERVICE LIST
                                ATTORNEY FOR PLAINTIFF
                           27   Natan Davoodi, Esq.
                                The Law Offices of Natan Davoodi, Esq.
                           28   3580 Wilshire Blvd., Suite 1260
                                Los Angeles, CA 90010.
                                Tel: 310-889-4554
                                Fax: 213-382-4083

                                                                         1

                                                                 PROOF OF SERVICE
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 94 of 104 Page ID #:101




                                EXHIBIT 2
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Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 96 of 104 Page ID #:103
Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 97 of 104 Page ID #:104
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                       Case 2:19-cv-02186-R-JPR Document 1-1 Filed 03/22/19 Page 104 of 104 Page ID #:111


                            1                            PROOF OF SERVICE - 1013(a) C.C.P.

                            2   STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3         I am employed in the County of Orange, State of California. I am over the
                                age of 18 and not a party to the within action; my business address is Gates,
                            4   Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                CA 92618.
                            5
                                      On March 22, 2019, I served the foregoing document described as DECLARATION
                            6   OF MARCIA M. LACOUR IN SUPPORT OF DEFENDANTS FORD MOTOR COMPANY AND FUTUR FORD OF
                                CONCORD, LLC’S NOTICE OF REMOVAL on the interested parties in this action as set
                            7   forth on the attached service list in the following manner:
                            8   (XXX)            BY MAIL. I am familiar with this firm's practice of collection
                                                 and processing correspondence for mailing with the United States
                            9                    Postal Service, and that the correspondence shall be deposited
                                                 with the United States Postal Service on the same day in the
                           10                    ordinary course of business pursuant to Code of Civil Procedure
                                                 §1013a. I am aware that on a motion of party served, service is
                           11                    presumed invalid if postal cancellation date or postage meter
                                                 date is more than one day after date of deposit for mailing
                           12                    affidavit.
                           13   (   )            BY FACSIMILE. In addition to service by mail as set forth above,
PROUDFOOT & MUENCH LLP




                                                 a copy of said document(s) was also delivered by facsimile
 38 DISCOVERY, SUITE 200
  GATES, GONTER, GUY,




                           14                    transmission to the addressee(s) pursuant to Code of Civil
    IRVINE, CA 92618
      (949) 753-0255




                                                 Procedure §1013(e).
                           15
                                (       )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                           16                    be hand-delivered to the addressee(s) via a California registered
                                                 process server pursuant to Code of Civil Procedure §1011.
                           17
                                (       )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                           18                    box or other facility regularly maintained by the express service
                                                 carrier providing overnight delivery pursuant to Code of Civil
                           19                    Procedure §1013(c).
                           20   (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                                                 electronically to _______________________ pursuant to Civil
                           21
                                                 Procedure §1010.6(a)
                           22
                                      I declare under penalty of perjury under the laws of the State of California
                           23   that the foregoing is true and correct and that this declaration was executed on
                                March 22, 2019, at Irvine, California.
                           24

                           25                                       ________________________________
                                                                    Jody Verne
                           26   ***********************************************************************************
                                                                    SERVICE LIST
                           27   ATTORNEY FOR PLAINTIFF
                                Natan Davoodi, Esq.
                           28   The Law Offices of Natan Davoodi, Esq.
                                3580 Wilshire Blvd., Suite 1260
                                Los Angeles, CA 90010
                                Tel: 310-889-4554
                                Fax: 213-382-4083
                                                                         1

                                                                 PROOF OF SERVICE
